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 7
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 9

10                                 UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12                                      SAN JOSE DIVISION

13

14   UNITED STATES OF AMERICA,                     Case No. CR-18-00258-EJD
15                    Plaintiff,                   DECLARATION OF RICHARD L.
                                                   SONNIER III
16          v.
                                                   Hon. Edward J. Davila
17   RAMESH “SUNNY” BALWANI,
18                    Defendant.
19

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                                                                   DECLARATION OF RICHARD L. SONNIER III,
                                                                              CASE NO. CR-18-00258-EJD
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 1                          DECLARATION OF RICHARD L. SONNIER III
 2          I, Richard L. Sonnier III, declare as follows:
 3          1.      I have been retained by Defendant Ramesh “Sunny” Balwani to serve as an expert
 4   in the field of Microsoft SQL databases and attendant equipment and software, including
 5   encryption of such databases and recovery of data from them.
 6          2.      My services are being billed at an hourly rate of $300 per hour. I am being
 7   separately reimbursed for any out-of-pocket expenses. My compensation in no way depends on
 8   the outcome of this investigation or the particular testimony or opinions that I express.
 9                                I.          BACKGROUND & EXPERIENCE
10          3.      My qualifications as an expert witness can be found in Exhibit A, which includes
11   my CV and a list of my publications and previous testimony.
12                          II.         SUMMARY AND SCOPE OF OPINIONS
13          4.      After reviewing materials on Theranos’s Laboratory Information System (“LIS”), I
14   have determined that the government’s claim that it could have done nothing to access the LIS
15   and extract data from it without a lost encryption key is incorrect. The government could have
16   accessed the LIS to obtain data from it either before or after Theranos disassembled the system at
17   the end of August 2018, when I understand the company was winding down. The technical
18   procedures that the government could have used to acquire or recover LIS data include obtaining
19   possession of the equipment running the LIS database either before or long after August 31, 2018,
20   or obtaining possession of the disk drives for the LIS system before or long after August 31,
21   2018. The government would not have needed the missing password for the private encryption
22   key if it had used these procedures, as discussed below.
23                                     III.    MATERIALS CONSIDERED
24          5.      In forming the opinions expressed in this report, I considered and relied on my
25   education, experience, and knowledge of the relevant fields. I also reviewed and considered the
26   materials listed in Exhibit B.
27

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                                                                            DECLARATION OF RICHARD L. SONNIER III,
                                                       1                               CASE NO. CR-18-00258-EJD
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 1            6.     I reserve the right to rely on any other information, deposition testimony, trial
 2   testimony, documents, or materials that may be provided to me or that witnesses at trial rely on if
 3   called to testify about any aspect of this matter.
 4                           IV.    THE LIS DATABASE AND LIS SYSTEM
 5            7.     As a starting point, LIS consists of the LIS database and the LIS system. The LIS
 6   database is the heart of the LIS system where all the laboratory data is stored. My review of the
 7   materials shows that the LIS database was contained in at least 11 Microsoft SQL Server
 8   databases.1 The LIS system, on the other hand, consisted of the LIS database and also the
 9   software that provided functionality, such as inputting and recording patient lab results, quality
10   control results, and customer and physician interaction data. The LIS system also had features
11   that allowed for accessing data in a user-friendly manner.2
12            8.     A good analogy for the difference between the LIS database and the LIS system is
13   that the LIS database is like a Microsoft Word document file (a .docx file) and the LIS system is
14   like the Microsoft Word software system. All the content of the document exists in the .docx file,
15   but for ordinary users to easily view, modify, or print that file, they would need a working
16   Microsoft Word system. Similarly, for ordinary users to use the LIS database, they would need a
17   working LIS system. A technical user or a computer-forensics specialist with the appropriate skill
18   set, however, could view and extract data from the LIS database without the LIS system just as
19   such a technical user could view a Microsoft Word document without a working Microsoft Word
20   system. For a technical user, the LIS database would be easier to get up and running compared to
21   the LIS system, because the LIS database had fewer dependencies on software, no dependencies
22   on hardware, and few if any dependencies on the Theranos’ IT infrastructure. The usability and
23   recovery difficulty for the LIS database compared to the LIS system is summarized in the
24   following table:
25

26

27
     1
         Ex. C (10/29/20 Letter from the Government) at 21.
28   2
         Ex. D (Theranos’ Response to PFM’s Interrogatory No. 54) at 5–8.
                                                                             DECLARATION OF RICHARD L. SONNIER III,
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 1

 2                                         Usability                       Recovery Difficulty
 3
         LIS Database                      By Technical User               Easy
 4
         LIS System                        By Ordinary User                Medium
 5

 6               Table 1: Comparison of LIS Database and System
 7          V.         CLEARING UP THE CONFUSION OVER ENCRYPTION AND THE LIS
 8                                                  DATABASE
 9               9.     In my review of the materials listed in Exhibit B, I have found that there was
10   considerable confusion on the part of the government and the witnesses it interviewed about
11   encryption and the LIS database. For instance, Eric Caddenhead, a former Theranos IT employee
12   who worked there as an IT Architect told a Theranos’ IT consultant in August 2018 that “if they
13   took the LIS apart they would not be able to access it again because then the encryption key
14   would be lost. The encryption key was located on a disk array which had a lot of pieces and when
15   they took the disk array apart it would have destroyed the encryption key.”3
16               10.    The Court appeared to accept this view put forward by the government in its Order
17   denying Ms. Holmes motion to suppress anecdotal data.4 The Court observed—based on the
18   government’s submissions—that Theranos’ counsel, WilmerHale, “failed to mention [to the
19   government] that a private key would also be necessary to access the LIS database.”5 The Court
20   ultimately determined that it was undisputed between the government and Ms. Holmes that “the
21   only entity in possession of the sole working version of the LIS database was Theranos—up until
22   it dismantled the database hardware, destroying the key and rendering the original database
23   unusable as well.”6
24               11.    The government’s conclusion and assertion that it would have needed an
25   encryption key after Theranos disassembled the LIS system at the end of August 2018 is
26
     3
       Ex. E (US-REPORTS-0016251) at 3.
27   4
       Order at 6, Dkt. No. 887.
     5
       Order at 5, Dkt. No. 887.
28   6
       Order at 12, Dkt. No. 887 (emphasis added).
                                                                              DECLARATION OF RICHARD L. SONNIER III,
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 1   incorrect, and reflects fundamental misunderstandings of the system and encryption. Within the
 2   LIS system—composed of servers and disk storage, the database, and software to access it—there
 3   are several instances of encryption being used to protect the data: (1) certificate-based encryption
 4   of the database called Transparent Data Encryption (TDE);7 (2) document encryption via Active
 5   Directory Rights Management Services (AD RMS); (3) document encryption protected by
 6   document passwords;8 and (4) password encryption of private encryption keys.9 My review of the
 7   evidence shows that the government and witnesses it interviewed confuse these encryptions. The
 8   government’s theory, accepted by the Court in connection with Ms. Holmes’ motion to suppress,
 9   was that a missing password for the private encryption key (number 4 in the preceding sentence)
10   prevented access to the data. But this password for the private encryption key would have been
11   necessary only for accessing data from the LIS database backup that Theranos produced to the
12   government in August 2018. The missing password for the private encryption key would not have
13   been necessary had the government obtained possession of the equipment running the LIS
14   database either before or after August 31, 2018. Unlike with the LIS database backup produced
15   by Theranos, possessing this equipment would have allowed access without any password for the
16   private encryption key. I understand that the government had the ability to seize evidence in the
17   event that Theranos declined to cooperate in transferring possession to the government.
18          12.     Recovering either the LIS database or the LIS system did not turn on possessing
19   the missing password for the private encryption key. Instead, the government appears to have
20   misunderstood two important facts. First, that the LIS database and LIS system remained on the
21   LIS equipment both before and after that equipment was disassembled in August 2018. And
22   second, that by obtaining the equipment, the government could have recovered either or both the
23   LIS database and the LIS system.
24

25

26   7
       Ex. F (TheranosABC00037962).
     8
       Ex. G (US-REPORTS-0019711) at 3 (“This document was an Excel document, which was
27   encrypted through Microsoft RMS. CADDENHEAD ended up getting a copy of the Excel
     document, but could not get into it because he did not have the password to the document.”).
28   9
       Ex. F (TheranosABC00037962) (See “ENCRYPTION BY Password”).
                                                                            DECLARATION OF RICHARD L. SONNIER III,
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 1          13.     Either before or long after August 31, 2018—when Theranos shut down and
 2   disassembled the LIS system10—the government could have obtained possession of the LIS
 3   production equipment—i.e., the servers, storage and related hardware that ran the LIS system.
 4   Before August 31, 2018, all parties agreed that the LIS system was up and running with at least
 5   one user.11 The level of effort and technical skill would have been much the same if the
 6   government had acted to take possession of these items either before or during the lengthy period
 7   after August 31, 2018. Because the data remained on the LIS system equipment, the government
 8   could have recovered the LIS database either by accessing that equipment at Theranos before it
 9   was disassembled or by obtaining the same equipment after disassembly.
10                 VI.    THERANOS DID NOT DESTROY THE LIS EVIDENCE
11          14.     Contrary to the government’s claims,12 Theranos did not destroy the LIS database
12   or the LIS system when it disassembled the LIS system equipment at the end of August 2018.
13   Instead, the available evidence shows that Theranos preserved and protected it.13
14          15.     After disassembling the LIS system equipment, the disk drives containing the LIS
15   database and system were preserved and stored offsite after August 31, 2018, it appears at an Iron
16   Mountain storage facility.14 It also appears that the equipment (servers and other hardware) and
17   the hard drives that contained the LIS database were also placed in storage.15 I am aware of
18
     10
        Ex. G (US-REPORTS-0019711) at 4 (“On Friday August 31, 2018 the Newark facility was
19   shut down. . . .”).
     11
20      Ex. H (US-REPORTS-0016262) at 4 (“CHUNG recalled that right before they shut down the
     LIS to move it, someone from Theranos told them to wait because they had to pull one more
21   report from LIS. Someone had made an announcement that the LIS was being shutdown and they
     wanted to wait until everyone was ready to shut it down.”).
     12
22      Dkt. 846 at 2, lines 6–7; Dkt. 682 at 7, lines 13–16 (claiming that “by August 31, 2018, the
     database had been completely shut down” and that afterward, “the data was gone”).
23   13
        Ex. I (TheranosABC00039050).
     14
        Ex. J (WH000000970) (second in email thread, “Theranos has preserved its various databases,
24   including the LIS database, on hard drives and plans to store those hard drives at Iron
     Mountain.”); Ex. H (US-REPORTS-0016262) at 2 (“The production infrastructure stayed in
25   storage for about a year or so, then JARED LNU (JARED) from Sherwood called because the
     equipment Lessor wanted their equipment back.”); id. at 3 (“CHUNG’s team went to storage and
26   confirmed the equipment was there, but found that all the hard drives had been removed.”).
     15
27      Ex. H (US-REPORTS-0016262) at 3 (“CHUNG then recalled MCCHESNEY had asked him
     and his team to remove all the hard drives before they were placed on the truck. The hard drives
28   were packed in separate boxes and taken to a different storage facility, but CHUNG did not know
     where they were taken.”).
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 1   nothing that would have stopped the government from obtaining possession of either or both the
 2   disk drives and server equipment before or long after August 31, 2018.
 3                VII.   CONFIGURATION OF THE EQUIPMENT RUNNING LIS
 4          16.     The equipment running LIS at Theranos appears to have been in the form of a
 5   single computer rack, similar to Figure 1 below.16
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                                    Figure 1: LIS System Equipment Rack
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27   16
        Ex. K (BALWANI000001–BALWANI000003) (Email and attached Visio file); see also Ex. L
28   (THPFM0000650372) at 3. The inventory I reviewed included the vendor service tags providing
     a complete itemized list of the hardware as it was originally shipped to Theranos. See id.
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 1        VIII. RECOVERING THE LIS DATABASE BY OBTAINING PRODUCTION
 2                      EQUIPMENT BEFORE OR AFTER AUGUST 31, 2018
 3          17.     The LIS database was active and operating before August 31, 2018. There would
 4   therefore not have been any issues with accessing the data stored in it had the government either
 5   accessed the data onsite at Theranos or obtained the equipment for transport to a government
 6   facility. I have seen nothing to suggest that Theranos or its law firm WilmerHale would not have
 7   cooperated by providing any user IDs and passwords or creating any new users needed, but I
 8   understand the government could have used coercive methods as well. The government has never
 9   claimed that the IT professionals it interviewed lacked administrative passwords to the system or
10   would not have supplied those upon request. These passwords are completely different from the
11   missing private encryption key. Even without obtaining the administrative passwords through
12   cooperation or coercion, with physical possession of the equipment, a technical specialist could
13   have accessed the LIS database with forensic tools and obtained the required user IDs and
14   passwords. No private encryption keys would have been needed because such keys were in place
15   on the seized equipment. For that reason, the LIS data could have been reviewed and extracted by
16   a technical user with skills like my own.
17          18.     In denying Ms. Holmes’ motion to suppress (Order, Dkt. No. 887), the Court
18   concluded—based on the government’s representations—that the government’s conduct after
19   August 31, 2018, is “irrelevant.”17 This conclusion turned on accepting that the government could
20   not have reconstructed the LIS database because Theranos’ dismantling of the LIS system
21   equipment permanently eliminated the ability to access data without the private encryption key.18
22   The government’s claims in this regard are incorrect.
23          19.     After August 31, 2018, the LIS system had merely been disassembled with the
24   hard drives stored in one location and the rest of the equipment stored in another.19 A technical
25   specialist could have readily reassembled the LIS system from these stored components; and then
26

27   17
        Order at 14, Dkt. 887.
     18
        Order at 13, Dkt. 887.
28   19
        Ex. H (US-REPORTS-0016262) at 3–4.
                                                                           DECLARATION OF RICHARD L. SONNIER III,
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 1   this scenario would have been the same as recovering the LIS database before August 31, 2018.
 2   Michael Chung, a consultant with a company called Neetek that was working with Theranos in
 3   2018,20 was incorrect when he stated that “once the hard drives were taken out of the servers, if
 4   they were not tracked as to where they came from, it would have been impossible to put them
 5   back together. Even if the hard drives were all labeled correctly, it would have been extremely
 6   difficult to reconstruct the database because in addition to the servers there are also hundreds of
 7   network devices which would have to be connected correctly.”21 While labeling all the disk drives
 8   before removal might have reduced the recovery time, it was not essential since each disk drive
 9   could have been examined forensically to determine its placement. Most of the disk drives were
10   for the Dell EqualLogic storage array. EqualLogic stores metadata on the disk drives themselves
11   so when returned to the array, the array controller reads the metadata from each disk drive and
12   restores them to their configuration when they were removed. The other disk drives are mirrored
13   boot drives for the servers and those can be examined and recovered as well. Mr. Chung’s stated
14   concern over “network devices” would not have applied to the recovery of the LIS database.
15          IX.     RECOVERING THE LIS SYSTEM BY OBTAINING PRODUCTION
16                      EQUIPMENT BEFORE OR AFTER AUGUST 31, 2018
17          20.     The government could have also recovered the LIS system and not just the
18   database if it had acted to do so before or after August 31, 2018. When interviewed by the
19   government, Mr. Chung thought that “[i]t would have been a gargantuan effort to rebuild this
20   system from scratch. However, they would need the encryption key.”22 Mr. Chung’s statement is
21   incorrect in regards to the production equipment. With the original hard disk drives, which were
22   placed in storage after August 31, 2018, 23 the LIS system could have readily been reassembled to
23
     20
24      Id. at 1 (“The first work CHUNG did for Theranos was to move servers. In July 2018 CHUNG
     met with JOHN MCCHESNEY (MCCHESNEY), who had contacted Neetek, in regards to
25   moving servers from Newark to a datacenter as Theranos was trying to get out of their Newark
     facility.”).
26   21
        Ex. M (US-REPORTS-0025153) at 5.
     22
        Ex. N (US-REPORTS-0019324) at 6.
27   23
        Ex. J (WH000000970) (second in email thread, “Theranos has preserved its various databases,
28   including the LIS database, on hard drives and plans to store those hard drives at Iron
     Mountain.”).
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                 EXHIBIT A
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Richard L Sonnier III - Curriculum Vitae
  nimbleservices.com/about/richardcv




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Summary of Qualifications
I bring over 29 years of experience and skill to Nimble Services’ customers who need cost
effective computer systems and networks. I create solutions across a multitude of computer
platforms and network technologies and focus on solutions with longevity based on industry
standard technology.

Analyze and Design
     High performance computer infrastructures integrated with legacy systems
     High speed LANs/WANs/SANs and client/server architectures using Ethernet
     (10/100/1000) Switches, Routers, TCP/IP, Frame Relay, T1/T3, FDDI, Fibre Channel,
     TCP/IP, and the Internet

Secure
     Computer security including audit preparation, audit remediation, penetration testing,
     policies and procedures

Integrate
     UNIX, NT, Solaris, HP-UX, AIX, IRIX, SCO, Digital UNIX, UNICOS, MPE/iX, MVS,
     Linux, and Windows networks into coherent company information system
     Standard and custom solutions with BMC ASA software: Patrol, BEST/1,
     SQL*Backtrack

Implement
     Computer systems management including policies, procedures, knowledge transfer,
     and products


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     Network services: distributed backup, network printing, E-mail, security, universal file
     and data access, ORACLE, SQL Server, AFS, NFS, DFS, Samba, www, ftp, and high
     availability servers

Troubleshoot
     All aspects of complex networked systems focusing on increased performance and
     seamless ease of use

Develop
     Custom system services and applications to provide complete computing environment
     in C, C++, FORTRAN, Visual BASIC, Pascal, LISP, Korn, Perl, TCL/TK, SQL, NT Batch,
     Java, JavaScript, and PowerShell

Manage
     Complex systems integration and management projects

Biography
I am the co-owner of the Nimble Services, Inc. based in Houston, Texas. I graduated from
Louisiana State University in 1985 with a B.S. in Physics and second B.S. in Computer
Science, and I have over 29 years experience designing technical computing solutions.

I began my professional career at Litton Industries supporting a US Navy contract creating a
large database of warship design and support data. I was responsible for all aspect of the
system: database, data storage, high-speed networking, imaging and scanning, and data
visualization. I developed and implemented operational support systems and data
converters. In my last assignment with Litton, I was the DB2 Database Administrator for a
large business unit.

After leaving Litton, I moved to Houston, TX and took a contract position with Exxon
Corporation. Over the next ten years, I worked on numerous data storage and migration
projects including a custom HSM system that migrated data from Apollo and Sun
workstations to a large IBM mainframe attached to a very large tape storage facility and a
large AFS implementation that scaled from a few hundred Gigabytes to 4 Terabytes during
my tenure. I designed, developed and implemented the backup system for Exxon’s AFS site
using up to 8 DLT tape jukeboxes. Additionally, I served on the evaluation team that
extensively tested all the major enterprise RAID storage products of that time. Ultimately,
Data General Clarrion systems were selected and I was instrumental in rolling out the new
system to a capacity of 25 Terabytes. Also, I connected the Netscape web server to Exxon’s
AFS data via a custom security plug-in and implement one of the first web search engines
deployed in Exxon.


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While contracting at Exxon, I joined a start-up company, Paranet, as its first employee. At
Paranet I was a technology leader and advised many project teams. I managed the
development of two commercial software products. One was a geophysical map data
converter that was very successful. The other was a data backup system that was one of the
first systems to support the new 8mm and 4mm tape stackers and jukeboxes. This backup
system was sold to Exxon and used in production for several years. Additionally, I developed
a custom driver for EPOCH Systems’ InfiniteStorage Architecture to allow data backup and
archive of Apollo workstation data to EPOCH systems.

After leaving Paranet, I co-founded Net Partners, Inc. where I continued to work on data
converters for geophysical data and worked on many other types of information technology
projects. My last project at Net Partners was leading a team to develop a seismic data
processing collaboration platform for a seismic processing vendor. The project allowed
seismic data to be processed and interpreted remotely over the Internet with a web browser. I
designed and implemented the entire data management subsystem including the relational
database. Also, while at Net Partners, I specialized in computer system performance analysis
and capacity planning. I completed many performance-troubleshooting projects often
involving large ORACLE databases, and I trained BMC Software’s class instructors on
BEST/1, BMC’s well-known performance and capacity planning tool.

After leaving Net Partners, I founded Nimble Services, Inc. where I continued to develop and
lead cutting edge information technology projects including:

     Converting a Microsoft Access application into a web-based solution serving a
     community of global users for a major chemical company.
     Developing many web-based interfaces to legacy computer applications and databases
     running on mainframe or minicomputers.
     Scaling up web application infrastructure to support thousands of users using clusters
     of application and database servers with secure, redundant firewall front-end systems.
     Designing high performance computer networks.
     Migrating legacy IT applications and systems to modern web-based solutions.

Experience

IT Security:
     Access Control Systems and Methodology
     Designed and implemented numerous security schemes to meet client needs using user
     IDs, security groups and ACLs available in most operating systems.
     Audited access control systems and security at many sites.
     Implemented custom password complexity programs at several clients.
     Analyzed password strength using cryptographic analysis and brute force attacks.



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    Engineered solutions to eliminate clear text passwords in applications and databases
    using security standards and custom programs to encrypt passwords.
    Extended applications like web servers to use advanced system security features like
    Kerberos Authentication and ACLs.
    Unified access control across the network by integrating Windows, UNIX and other
    computer security.

IT Security:

    Telecommunications and Network Security
    Performed security penetration test including Internet, WAN and LAN.
    Developed custom firewall solutions based on the Linux operation system.
    Secured Internet access with firewalls: FWTK, MS Proxy Server, Cisco PIX/ASA,
    CheckPoint, NetScreen, NetMax, SonicWall, Linksys, routers and other network
    security devices.
    Evaluated firewall effectiveness and reported on the results.
    Performed TCP/IP network performance tests.
    Analyzed security incidents at many companies including ExxonMobil, Global Marine
    and Universal Weather.

Business Continuity Planning and Disaster Recovery Planning
    Developed business continuity plan for UNIX systems at several clients
    Implemented failover solutions including clusters and data replication.
    Designed hot and cold backup sites for several clients including network, hardware,
    software and security aspects.

Security Management Practices
    Presented security best practices to CIO level executives and IT staff at several clients.
    Trained IT staff on security management and maintenance.
    Presented on computer security at conferences like Houston Business Expo and
    GHRUG.

Security Architecture and Models

    Created security audit scripts to maintain compliance.
    Implemented audit remediation to comply with corporate policies.
    Developed SOX audit policies and procedures.
    Developed tax compliance system to track corporate tax filings and compliance.
    Conducted numerous Technical Control Analysis Processes (TCAPs) on many IT
    products and services for ExxonMobil. TCAP is ExxonMobil’s security evaluation and
    audit process to ensure all IT products and services comply with corporate standards
    and policies.


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    Designed ExxonMobil’s B2 level security environment for its exploration company
    covering systems, software, networks and security training.
    Audited security practices against business policies at several clients including
    ExxonMobil, Global Marine, and Challenger Mineral.

Legal Analysis

    Performed forensic analysis of many systems and provided expert reports for 8 or more
    legal cases dealing with theft of intellectual property, serving as expert witness in
    several cases.
    Provided expert analysis and reports for a software patent case. This expert witness
    analysis was cited by the Circuit Court of Appeals in a successful appeal of the case and
    instrumental in the favourable outcome for the client:
    http://www.cafc.uscourts.gov/opinions/06-1440.pdf

Application and Systems Development
    Developed application level network security solutions where remote systems were
    granted access to mainframe resources based on their physical IP address and two
    factor user authentication.
    Developed web-based application requiring SSL security.
    Converted a low security commercial web server farm to higher security farm located in
    a physically secure co-location facility and designed remediation solutions to fix 90% of
    the risk exposures.
    Developed a security framework to improve security of the web-based applications.
    Integrated, programmed and managed IBM Series/1 computers that linked the IBM
    mainframe with machine tools on the manufacturing floor.
    Integrated several manufacturing floor systems with HP 3000 mainframe and later
    HP-UX server including shop scheduling system, labor data collection system, and
    DNC machine tools.
    Designed and developed the operating system based on Linux for custom
    manufacturing floor terminals.
    Developed custom data communication protocols for communication between the HP
    3000 mainframe and the manufacturing servers running over both Ethernet and RS-
    232 serial links with full redundancy, failover and failback.
    Developed support software for testing of Blue Sky’s custom TDC for high end physics
    experiments (STAR TOF experiment of the Relativistic Heavy Ion Collider at
    Brookhaven National Laboratory) in LabWindows/CVI.
    Managed the development team for Blue Sky’s follow-up software to support their TDC
    including recruiting the team, designing the software, and debugging it.
    Developed the device driver for Blue Sky’s line of high performance waveform digitizers
    as well as some parts of the firmware and VHDL for the PCI-E interface.



                                                                                                5/11
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    Analyzed patents on embedded systems in vehicles and how those systems form a
    distributed multiprocessor system via an open communication system.
    Analyzed the source code for numerous electronic control units (ECU’s) found in Ford
    vehicles especially how they communicate over the CANbus to form a loosely connected
    distributed multiprocessor system.
    Analyzed the specification and schematics of the electronic components installed in
    Ford vehicles known commercially as Ford SYNC; and how those components are
    linked to other systems including Ford SYNC services.
    Inspected and tested various combination of Ford ECU’s on vehicle bucks.

IT Infrastructure

    Managed technical tools for support personnel.
    Enhanced sales with technical support and technical information.
    Improved customer service levels by increasing site efficiency.
    Developed Help Desk and Network Inventory service offerings.
    Developed an AFS backup system.
    Configured Internet mail gateway and MS Exchange to support SMTP mail for 400
    Exchange users.
    Managed the corporate network of Suns, HPs, Macs and PCs.
    Implemented a command line interface to TCP/IP sockets for UNIX systems.
    Implemented a UNIX and PC integration project using PC/TCP.
    Developed a UNIX file archival system using TCP/IP.
    Designed LAN and WAN networks with 100’s of nodes using TCP/IP, IPX, and SNA
    protocols.
    Configured NFS for Suns tied to Apollo networks.
    Administered an IBM DB2 relational database system on a 4381.
    Created relational databases in ORACLE on a VAX VMS system.
    Administered a 50 node Apollo network with over 100 users.
    Administered a Empress relational database system.
    Tested new CAD software.
    Supported Versatec and HP plotters.
    Supported Optigraphics system and scanner.
    Supported the Symix/Syteline ERP, engineering design systems, and the
    manufacturing floor electronic test equipment and the integration between them.

Business Systems Development
    Implemented Compiere ERP on ORACLE 9 and 10.
    Developed an engineering drawing control system.
    Developed a multi-media web application providing audio, video and application
    windows to remote Internet users.
    Setup UltraSeek Internet search engine to index and search corporate information.


                                                                                           6/11
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    Administrated SQL Server and Net Dynamics server for database oriented Web
    applications.
    Improved a backup product with 8mm tape support on DOMAIN/OS and AFS support
    for Suns.
    Managed a geophysical map converter development team and developed the core
    application framework for the product.
    Developed a user interface for a GeoShare converter product.
    Developed a converter for 3D manufacturing data between Computer Vision and Calma
    CAD/CAM systems.
    Managed a CAD installation project that installed 3 division networks.
    Designed and implemented GUIs in DOMAIN/Dialog, Open Dialogue, X11, and
    OSF/Motif.
    Implemented TCP/IP to SNA gateways.
    Developed an IOS type manager for backing up Apollo networks to an IBM mainframe.
    Developed a color raster formatter for a Versatec 3444 plotter.
    Developed a user support/problem tracking system.
    Introduced software engineering techniques into CAD project.
    Developed a custom IBM/RJE server.
    Developed a plot control/management system.
    Developed a generic mailbox communications package.

Performance and Monitoring
    Developed a network monitoring application that used audio recording and playback
    for messaging.
    Fixed ORACLE SQL*Net operations and performance.
    Analyzed X11 performance over Frame Relay network.
    Developed a UNIX system performance tool.
    Created and taught computer performance classes features BMC’s BEST/1 product.
    Analyzed the performance of databases, networks, clients and applications providing
    recommendations to increase performance and resolve bottlenecks.

Conversions
    Converted UNIX web server to NT 4.0 and IIS.
    Ported an application from DOMAIN/OS to HP-UX.
    Converted data from numerous different systems to new formats.
    Developed an HP 3000 MPE emulation layer to port an entire suite of business
    application from MPE to HP-UX.

Expert Witness Cases

Testifying

                                                                                          7/11
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    AllVoice Computing PLC v. Nuance Communications, Inc.
    AirGas, Aeriform v. IWS Gas and Supply
    JOHN C. MITCHELL, ALAN J. HEARD, STEVEN N. CORBETT, and NICHOLAS J.
    DANIEL v. DOUGLAS HOLT, MICHAEL K. DAVIS, and JOSEPH H. MIGLIETTA
    ALLVOICE DEVELOPMENTS US, LLC v. MICROSOFT CORPORATION

Consulting

    EAGLE HARBOR HOLDINGS, LLC, and MEDIUSTECH, LLC v. FORD MOTOR
    COMPANY
    WCS v. TMI
    OmmiLabs v. Core Lab
    POLYDYNE SOFTWARE INC. v. CELESTICA INTERNATIONAL, INC.

Forensics
    James Roll vs GCA Services Group
    Jacintoport vs former employees
    AET vs C5 Communications, Eric Smith, et al.
    US Quality Furniture of Services Inc. vs Furniture Works Inc.
    Sanitors Services Inc. vs Nathaniel B. Shaw
    BASEOPS INTERNATIONAL, INC. VS. EDUARDO HERNANDEZ, INTERNATIONAL
    TRIP PLANNING SERVICES LLC, INTERNATIONAL TRIP PLANNING, LLC and
    MGAS GLOBAL AVIATION SERVICES LLC
    Brad Randell
    Conix
    GAO
    Massage Envy Imperial Oaks
    Boulevard Reality/Sudhoff
    Beacon Medical v. Steve Sullivan
    PointServe (Mobi) v. IPX
    Trading Technologies International, Inc. Patent cases
    T & T Engineering Services, Inc. v. Axel Michael Sigmar, et al


Employment
    Nimble Services Inc., Founder, President & Senior Systems Analyst 2001-Present
    Net Partners, Inc., Co-founder, Senior Partner 1993-2001
    Paranet, Inc., Senior Systems Consultant 1991-1993
    Prime Computer, Inc., Systems Integration Consultant 1990-1991
    Exxon Company, USA Systems Analyst (contract) 1988-1990
    Litton Industries, Inc., Systems Programmer/Analyst 1986-1988




                                                                                     8/11
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Education
    Louisiana State University, B.S. Computer Science 1985
    Louisiana State University, B.S. Physics 1985
    University of Southern Mississippi, Graduate courses: Relational Database Systems and
    Software Engineering 1987
    Tulane University A. B. Freeman School of Business, Master Certificate in Business
    Management 2005

Continuing Education
    BMC Patrol Administration/Implementation
    Microsoft Windows NT Programming
    Developing File Systems for Windows NT
    BEST/1 for UNIX
    BEST/1 for Distributed Systems SureStart Engagement Process
    FileNET Panagon Sys Admin on UNIX
    OSF DME Workshop
    OSF DCE Internals
    Tivoli Management Environment Advanced Developer
    Advanced Perl Programming
    Mach 3.0 MIG Programming
    Porting the Mach 3.0 OS
    OSF/1 Introduction
    Project Management
    Parallel Algorithms and Architectures for 3D Image Generation
    X-Windows and Open Dialogue Programming
    Network Computing System (NCS) Programming
    MVS/XA Introduction
    IBM Series/I CF Support
    IBM Series/I EDL Programming
    Calma Apollo DDM System Support
    Introduction to Hypertext and Hypermedia

Publications
    UNIX Review, “Spotlight on FDDI” October, 1992
    LISA IV, “TCL and Tk: Tools for the System Administrator” October, 1992

Houston Business Review, Cost Effective IT series of articles, 2004-2005

    Cost Effective IT
    Cost-Effective IT 100 Megabit Wireless
    Cost-Effective IT Are PCs Getting Easier To Use

                                                                                            9/11
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Cost-Effective IT Auditing
Cost-Effective IT Cell Phone 2005
Cost-Effective IT Cell Phone Applications
Cost-Effective IT Compiere
Cost-Effective IT Cost Savings
Cost-Effective IT EBusiness
Cost-Effective IT Easy To Use Software
Cost-Effective IT For Marketing Your Business
Cost-Effective IT Future Technology
Cost-Effective IT Hardware Failures
Cost-Effective IT Hardware Trends
Cost-Effective IT High Speed Wireless
Cost-Effective IT In Emergencies
Cost-Effective IT Internet Future
Cost-Effective IT Internet Security
Cost-Effective IT Linux And Open Source 2005
Cost-Effective IT Mozilla Thunderbird
Cost-Effective IT Netscape Reborn
Cost-Effective IT Network Storage
Cost-Effective IT New Developments March 2004
Cost-Effective IT New Sales Software
Cost-Effective IT Nvu
Cost-Effective IT Offshoring
Cost-Effective IT Open Source Compiere
Cost-Effective IT Photo No No
Cost-Effective IT Planning
Cost-Effective IT Planning For New Year
Cost-Effective IT Policies Procedures
Cost-Effective IT Security Part One
Cost-Effective IT Security Part Three
Cost-Effective IT Security Part Two
Cost-Effective IT Service Oriented
Cost-Effective IT Software Failures
Cost-Effective IT Stopping SPAM
Cost-Effective IT Successful Ventures
Cost-Effective IT The Business Process
Cost-Effective IT The Compiere Difference
Cost-Effective IT The Compiere Difference NEXT
Cost-Effective IT The Dark Side
Cost-Effective IT Tough Decisions
Cost-Effective IT User Failures
Cost-Effective IT Web Applications


                                                                       10/11
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     Cost-Effective IT Web Based Training
     Cost-Effective IT Web Development and Dreamweaver
     Cost-Effective IT Web Forms
     Cost-Effective IT Wireless Networking
     Cost-Effective IT Wireless Inventory


Other Skills
     Houston Business Show on CNN 650 Radio, Periodic Appearances and Guest Host,
     2004-2005

References
Available upon request.

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Beginning Bates       Date              Description
                                              PLEADINGS
n/a                          11/20/2020 Holmes's Motion to Exclude Evidence of Anecdotal Test Results
n/a                           1/11/2021 USA's Corrected Opposition to Motion to Exclude Evidence of
                                        Anecdotal Test Results
n/a                           2/23/2021 Holmes's Reply ISO of Motion to Exclude Evidence of Anecdotal
                                        Test Results
n/a                            6/2/2021 Motion to Suppress Evidence of Customer Complaints and Testing
                                        Results as Well as Finding in CMS Report
n/a                            6/2/2021 Wade Declaration ISO of Motion to Suppress
n/a                           6/21/2021 Opposition to Motion to Suppress
n/a                           6/21/2021 Bostic Declaration ISO Opposition to Motion to Suppress
n/a                           6/28/2021 Reply ISO Motion to Suppress
n/a                           6/28/2021 Wade Declaration ISO of Reply ISO Motion to Suppress
n/a                            8/4/2021 Order Denying Motion to Suppress
TheranosABC00042260            8/8/2018 Leach Decl., Ex. 70, Dkt. No. 681-34 (Email from Xan White to
                                        WilmerHale re: Re: LIS data base discussion - response to request)
                                        (GTX 4762)
n/a                           9/28/2020 Leach Decl. Ex. 72, Dkt. No. 681-36 (Sept. 28, 2020 expert witness
                                        report of Bruce W. Pixley)
n/a                           7/23/2020 Saharia Decl., Ex. 101, Dkt. No. 735-2 (Letter from R. Leach to K.
                                        Trefz responding to July 7, 2020 letter regarding Rule 16
                                        productions)
                                     DEPOSITION TRANSCRIPTS
n/a                           4/24/2019 Deposition transcript of Shekar Chandrasekaran, In re Arizona
                                        Theranos, Inc. Litigation
n/a                           4/23/2019 Deposition transcript of Sekhar Variam, In re Arizona Theranos, Inc.
                                        Litigation
                                              DISCOVERY
n/a                          12/12/2016 Theranos's Response to PFM's Interrogatory No. 54
                                   LIS APPLICATION USER GUIDES
THPFM0001705425                6/9/2015 Theranos LIS Application June 9th, 2015 Release presentation
THPFM0003358957              10/20/2015 LIS App User Guide presentation
THPFM0003358959              10/20/2015 Customer Service App User Guide presentation
THPFM0000091880              11/15/2015 Standard Operating Procedure Theranos SW Qualification and
                                        Qualification Report Accessioning Application, Bridges Application,
                                        and LIS Application Qualification
                                         CORRESPONDENCE
n/a                          10/29/2020 Letter from Robert Leach to Lance Wade re: Brady information
                                    MEMORANDA OF INTERVIEWS
FBI-AUDIO-000001              12/9/2020 Shekar Chandrasekaran FBI interview audio file
US-REPORTS-0024254            12/9/2020 Shekar Chandrasekaran Memorandum of Interview
US-REPORTS-0016258            4/23/2020 Antti Korhonen Memorandum of Interview
FBI-AUDIO-000002              7/27/2020 Antti Korhonen FBI interview audio file
US-REPORTS-0017921            7/27/2020 Antti Korhonen Memorandum of Interview
US-REPORTS-0016262            4/23/2020 Michael Chung Memorandum of Interview
FBI-AUDIO-000003              10/6/2020 Michael Chung FBI interview audio file
US-REPORTS-0019324            10/6/2020 Michael Chung Memorandum of Interview
PROFFER-000032               11/25/2020 Michael Chung Attorney Proffer
US-REPORTS-0025153            12/7/2020 Michael Chung Memorandum of Interview
US-REPORTS-0016251            4/16/2020 Eric Caddenhead Memorandum of Interview
FBI-AUDIO-000004              10/7/2020 Eric Caddenhead FBI interview audio file
US-REPORTS-0019711            10/7/2020 Eric Caddenhead Memorandum of Interview
US-REPORTS-0019703           10/14/2020 Eric Caddenhead Memorandum of Interview
US-REPORTS-0019683           10/15/2020 Eric Caddenhead Memorandum of Interview


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Beginning Bates         Date           Description
US-REPORTS-0020386              11/2/2020
                                       John McChesney Memorandum of Interview
US-REPORTS-0020367             11/12/2020
                                       Mike Wei Memorandum of Interview
US-REPORTS-0020410             10/16/2020
                                       Alexander (Xan) White Memorandum of Interview
US-REPORTS-0019170             10/27/2020
                                       Alexander (Xan) White Attorney Proffer
US-REPORTS-0019706              11/2/2020
                                       Alexander (Xan) White Attorney Proffer
US-REPORTS-0019708              11/2/2020
                                       Alexander (Xan) White Attorney Proffer email
US-REPORTS-0025177             12/17/2020
                                       Jarod Wada Memorandum of Interview
US-REPORTS-0020373             10/14/2020
                                       Wilmer Hale Attorney Proffer
US-REPORTS-0025513              2/18/2021
                                       David Taylor Attorney Proffer
                                                EMAIL
WH000002070                  5/23/2018 Email from Mike Romeo to David Taylor, Christopher Davies,
                                       Michael Mugmon, Matthew Benedetto and Katie Moran re: Theranos
                                       - Summary of 5/23/18 Call with the DOJ
TheranosABC00039050          6/22/2018 Email string between Eric Caddenhead and Xan White re: Summary
                                       of our conversation [privileged/confidential]
TheranosABC00039916          7/30/2018 Email string between John McChesney, Eric Caddenhead, Xan
                                       White, and David Taylor re: LIS data base discussion - response to
                                       request
CHUNG-EMAILS-000246           8/6/2018 Email string between John McChesney, Michael Chung, and Xan
                                       White re: LIS Copies - need Eric or Antti
WH000002324                   8/8/2018 Email string between Xan White and Katie Moran re: LIS data base
                                       discussion - response to request
TheranosABC00037454          8/11/2018 Email string between Craig Josephson, Xan White, Michael Chung,
                                       John McChesney, Eric Caddenhead and David Taylor re: Theranos -
                                       LIS Database Copy Update 2
WH000003587                  8/24/2018 Email from David Taylor to George Schuster, Benjamin Loveland,
                                       Isley, Gostin, Michael Mugmon, Katie Moran, Mike Romeo, and Xan
                                       White re: Email
CHUNG-EMAILS-000574          8/30/2018 Email string between Eric Caddenhead, Michael Chung, Shekar
                                       Chandrasekaran, John McChesney and David Taylor re: LIS
TheranosABC00038585          8/30/2018 Email string between Sekhar Variam, David Taylor, Eric
                                       Caddenhead and Shekar Chandrasekaran re: LIS data base
                                       discussion - response to request
TheranosABC00037345           9/2/2018 Email string between David Taylor, Michael Chung, Eric
                                       Caddenhead, Shekar Chandrasekaran, and Sekhar Variam re: LIS
                                       data base discussion - response to request
TheranosABC00037962           9/2/2018 Encrypt_SQL_Databases_Staging.docx (decrypted)
TheranosABC00038253           9/2/2018 Email string between Shekar Chandrasekaran, David Taylor,
                                       Michael Chung and Eric Caddenhead re: Info for Shekar
WH000000970                  9/14/2018 Email string between Roger Heller and Stephen O'Neill re: In re
                                       Theranos: Request for Confirmation re Preservation of Evidence
DTTPROD-00000159            10/12/2018 Email between Jarod Wada, Michael Chung, David Taylor and
                                       Phillipe Poux re: Theranos ABC - Cisco capital lease equipment
TheranosABC00001770          11/7/2018 Email string between Mike Wei and Jarod Wada re: Theranos LIS
                                       database
WH000000669                  7/30/2019 Email from Mike Romeo to John Bostic and Jeffrey Schenk re:
                                       Theranos GJ subpoena response
                           NETWORK SCHEMATICS AND INFORMATION
THPFM0000228604                        Network diagram
BALWANI000001 -              6/10/2015 Email from Ian McDowell attaching Visio’s of the rack config and
BALWANI000003                          connectivity map (native files)
THPFM0000650372              3/12/2013 Dell Master Lease Agreement
                                            LIS Hard Drive
HARD-DRIVE-LIS-000001                  AllKeys_Certs.zip


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Beginning Bates      Date              Description
                               PUBLICLY AVAILABLE DOCUMENTS
                     Public information from Dell related to the Dell Master Lease Agreement
                     (THPFM0000650372), available at https://nimbleservice-
                     my.sharepoint.com/:f:/g/personal/rsonnier_nimbleservice_onmicrosoft_com/EiYoyWq
                     ZSu1KtUqPxLT-gcMBSy0XNSy2Va8GgaJbQJtUfg

                                       1CSNZX1.xlsx
                                       9BSNZX1.xlsx
                                       BBSNZX1.xlsx
                                       CBSNZX1.xlsx
                                       DBSNZX1.xlsx
                                       FBSNZX1.xlsx
                                       GBSNZX1.xlsx
                                       GN8MDV1.xlsx
                                       JBSNZX1.xlsx
                     Public information from Dell, other vendors, and other websites, available at
                     https://nimbleservice-
                     my.sharepoint.com/:f:/g/personal/rsonnier_nimbleservice_onmicrosoft_com/EgzKYS8
                     u3FlNqD6aYHDUK9EBGb491boa4suKXH5hk4G-Sw?e=6sKOBm
                                     BestPracticesforSeizingElectronicEvidence.pdf
                                     Dell M Series Blade IO Guide July 2016.pdf
                                     Dell_PS6210_Series_Spec_Sheet_102913.pdf
                                     DOJ-ssmanual2009.pdf
                                     ESG-TechWP-Securing-EQL-SAN.pdf
                                     HP_Nimble_1048356599.pdf
                                     LawJournal-Seize First Search Later.pdf
                                     lightning_6gb_ds.pdf
                                     poweredge-m1000e_owners-manual_en-us.pdf
                                     recovering-windows-secrets-and-efs-certificates-offline-paper.pdf
                                     recovering-windows-secrets-and-efs-certificates-offline-slides.pdf
                                     Reference Architecture utilizing the PowerEdge M1000e Blade
                                     Enclosure SQL and Exchange.pdf
                                     savvio 10k5-fips-data-sheet-ds1727-4-1201.pdf
                                     s-solution-resources_white-papers68_en-us.pdf
                                     s-solution-resources_white-papers93_en-us.pdf




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                                              United States Attorney
                                              Northern District of California


                                                1301 Clay Street, Suite 340S             (510) 637-3680
                                                Oakland, California 94612           Fax: (510) 637-3724


                                             October 29, 2020

By Email

Lance Wade, Esq.
Kevin Downey, Esq.
Amy Saharia, Esq.
Katie Trefz, Esq.
Williams & Connolly LLP
725 Twelfth Street, N.W.
Washington, DC 20005

       Re:      United States v. Holmes, CR 18-258 EJD

Dear Counsel:

       Pursuant to your requests for discovery, we write to alert you to the following
information, which you may view as potential Brady, Giglio, or Jencks information. This
supplements our letter to you dated July 9, 2019. By making these disclosures, we do not
necessarily agree that this information is responsive to Rule 16, Brady, Giglio, or Jencks, nor do
we waive any applicable privilege or protection.

                                             *****

       1.       Government notes of a phone call with Pete Skinner on or about January 28,
2016, state in part:

                privately held
                few SHDs
                        sophisticated
                        employees
                no public offering

                tech
                       prop – h’ware, software, chem, protocol
                ....
                software enables TSPU and larger h’ware to hook up w/ cloud so machine can be
                used remotely & results viewed remotely
                       big data anal.
                                                1
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               ....
               co has not described to press – protocols and custom could be used by competitors
                       4 min mile
                       don’t want other to reveal possibilities
               can’t disclose for competitive reasons
               ....
               co. did not keep control systems

       2.      On or about May 20, 2016, an AUSA, FBI agents, and a Postal Inspector met with
attorneys from WilmerHale and Boies Schiller. Notes of the meeting state in part:

               2003-2013
                     --pharmaceutical companies
                     --small clinical lab
                             --Safeway employees blood test
               R&D lab vs. clinical lab
               now – R&D and retail operation
                     80 PhD employees

               Theranos tech {       -collection process
                                     -chemical process
                                     -device
                                     -software
               ....
               -200 tests/80 operational
               -Arizona – moderately complex
                       -not using proprietary machines
               high throughput machine – runs many at [?]

Additional notes state in part:

               2 clinical labs: Newark, AZ
               750 employees, 80 Phds
               1000 patents

               private co.
                       85 investors
               ....
               barcode w patient name & test info
               create shipping container
               chemicals keep

               automation to industry
               ....
               software
                      apps for intake
                      automate lab
                                               2
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                      allows to do for less cost

              cloud software – can program the TSPUs remotely
              big data implication & treat in a productive way

The additional notes also reflect statements made by Theranos’ counsel about efforts the
company was taking in response to the CMS review and other government inquires.

       3.     Notes by a Postal Inspector of a call or meeting with Boies Schiller on or about
June 30, 2016 state in part:

              750 employees
              85 shareholders
              ....
              software innovations – smaller needle & volume for venous draws
              -Theranos using Edison for ELISA [?] (15 tests)
              CLIA waiver for 35 machine for HSVI only

        4.      Notes by a Postal Inspector of a meeting with WilmerHale, the SEC, the FBI, and
others state in part:

              Examined –    QC results,
                            patient distribution
                            proficiency testing
              60,000 voided vs. 1.5 million total tests”

      5.     Government notes of a meeting among the government, the SEC, WilmerHale,
and David Taylor dated November 16, 2016 state in part:

              SB loaned $$ to the co; EH never took out
              ....
              have resources at right team

              Walgreens unraveling blew all of this up

              clearly errors in the lab

              emphasis on Edison, TSPU, + minilab = distortion
              ....
              2007-2010: all resources into R&D
                      worked w/ #
                      established POC that the device worked
                      Testing more propel, more regularly would get better data
              ....
              fin record keeping not precise
              ....
              the CLIA lab misadventure
                                                   3
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                 ....
                 8/2014 – Wag increases projections, 500-2500
                 3 stores in PHX
                 5/14 – 20
                 41 total by 9/2014
                 ....
                 DNK why roll out stalled
                         CFO issues
                         new management
                         failed Express Scrips

           6.    Notes by an SEC attorney dated December 16, 2016 of a “Call with Wilmer” state
in part:

                 Prosecution update
                 ....
                 Spreadsheet w/ LIS – response 14 &15 first stop
                 ....
                 LIS spreadsheet (12/9)
                 2 diff [?]

         7.      Notes by an SEC attorney dated December 2016 of a “Call with Wilmer Hale”
state in part:

                 3. Spreadsheet – LIS – proprietary / third party equipment
                 ....
                 LIS spreadsheet – this week’s production
                 ....
                 4. Investor meeting this week . . . shift in strategy, return to TSPU, focus on
                 NICUS-development

         8.      Notes by an SEC attorney dated March 13, 2017 of a “Call with Winston Chan”
state in part:

                 2/27: Anti Kohrhonen

           9.    Notes by an SEC attorney dated March 16, 2017 of a “Call with Wilmer” state in
part:

                 2 files for 2 lab [?]
                 Originally used LabDaq
                 At some point in early 2013; decision made to [?]
                          --T LIS – Intell. Property
                 LabDaq continued in parallel of LIS from October 2013 thru middle June 2014
                 Past bridge from LabDaq to LIS
                 Only venous collections went into LabDaq
                 Any finger stick is in LIS
                                                   4
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                 Data . . . out of LabDaq file is venous
                 After June 2014, LIS has every record – include . . . finger v. venous
                 No finger stick in LabDaq @ all
                 LabDaq had data from demos [?]
                 ....
                 Can’t say @ what point every tech demo is recorded in LIS
                 ....
                 Can try provide data in native file

                 --compilation of test by device
                 ....
                 Device “unknown” on spreadsheet?

         10.     Notes by an SEC attorney dated March 16, 2017 of a “Call with Wilmer Hale”
state in part:

                 4. Do they have spreadsheets showing unique tests by device?

                 8. Request 13 and 14 spreadsheet
                 Originally used commercially available LABDAQ available system
                 Early 2013 – decision made to develop proprietary system
                 LIS, which would house data
                 October 2013-June 2014 – developers created abridge all data in LABDAQ in LIS
                 Only venous collections went into LABDAQ
                 All fingerstick collection in LIS
                 LABDAQ included pre-commercial lab data prior to Walgreens launch.
                 There are results that signify was conducted for demo and not lab patient
                 Produced only commercial testing data

                 *will check that can put data in excel
                 *will check on fingersticks prior to bridge being created

           11.   Government notes of a meeting with Wilmer Hale on or about May 18, 2017 state
in part:

                 voided 10% of the tests – QA wasn’t in place
                 ....
                 AZ AG
                        reimb -- $ to patients, mostly going to Walgreens
                        we reimbursed everyone
                        AZ published a complaint
                 ....
                 thought it could take 1 month to get assays into box(?)
                        thought a mere step from R&D to clinical lab
                        PFM knew that 20 samples not suff.



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        12.     Undated notes of a government call with WilmerHale attorneys state in part:
“data re tests – more refined, next week, 13-15.”

         13.     Notes by an SEC attorney dated April 16, 2017 of a “Call with Wilmer Hale”
state in part:

                 “Live cycle documents – when will be produced?”
                 ....
                 Tender offer on hold. . . .

                 Notes by an SEC attorney dated May 1, 2017 of a “Call with Wilmer Hale” state
                 in part:

                 $43.5 payment made today
                 ....
                 •       Don’t know about company’s cash position
                 Company will continue with tender offer and clock starts ticking once TRO has
                 been lifted
                 ....
                 Unproduced texts . . . will review and produce only business related texts

         14.     Notes by an SEC attorney dated May 17, 2017 of a “Meeting with Wilmer Hale”
state in part:

                 2      Future plans
                 Tender offer – Wilson Sonsini – fundraising method has changed
                 ....
                 $60mm cash in hand left as of April
                 $10mm burn rate per month
                        --over half of burn rate is legal
                 Trying to get advancement of legal fees $10-15mm
                        $30mm total

                 Walgreens – want to settle

                 Make submissions on 5.0 through 2018
                        --Need $100m to survive until 2018
                 Existing investors – not sure if existing investors will put in more $

                 --new investors
                         Banks
                         One-off investors –wealthy families
                 --monetizing the IP
                 ....
                 IP Is valuable, not a lot of prior art
                         --exploring loans secured by IP
                 ....
                                                   6
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                  $550mm have accepted tender offer from C-1 and C-2

     15.      Notes by an SEC attorney dated November 29, 2017 of a “Call with Rob
Khuzami” state in part:

                  RK: Fortress wants to make sure no misunderstanding regarding the financing of
                  Theranos
                         --explain what the financing looks like
                         Don’t want any surprises
                  ....
                  Not looking to get any blessing from the SEC

                  RKohl: We cannot give blessing
                  We cannot disclose parts of investigation or where is headed
                  RK: we can answer any questions about use of proceeds

                  ES: Don’t want clients to be shocked if we say nothing
                  Don’t want to be position where Fortress asks why we didn’t warn about the
                  transaction

                  RK: Fully understand that we will not get blessing. Encourage us to ask
                  questions – they want to be helpful. Believe that Tom Strickland will attend with
                  Fortress.

                 RKohl: Feel free to reach out to Justice and we can coordinate
           Noon looks fine for a meeting

           16.    Notes by an SEC attorney dated June 23, 2017 of a “Call with Wilmer Hale” state
in part:

                  (1)     Fundraising – whether secured by assets, underwriters assisting, what
                  timing, who leading communications, term sheet, list of poss. Investors
                  ....
                  (6) Search terms – narrow date range
                  ....
                  (9) Theranos considering a debt raise
                  Putting together term sheet
                          --seek funds from current investors, before going out
                          Need bridge capital
                          Convertible notes, not secured
                  ....
                  Offered to C-2 investors who participated in settlement.
                  ....
                  Holmes texts . . . did not include intensely personal nature may exclude personally
                  embarrassing
                  There is a concern that she is a public figure
                          --included other private things – excluded
                                                   7
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      17.     Notes by an SEC attorney dated July 5, 2017 of a “Call with Michael and Katie
(Wilmer)” state in part:

                  Elizabeth Holmes and David Taylor are interacting with investors.
                  Company is at a critical juncture at now – will have a chilling impact on the
                  company’s survival

           18.    Notes by an SEC attorney dated July 20, 2017 of a “Call with Wilmer Hale” state
in part:

           (6) Fundraising . . . hoping to finalize Walgreens deal this week.

           19.    Notes by an SEC attorney dated July 28, 2017 of a “Call with Wilmer Hale” state
in part:

                  Theranos has not received a commitment to invest
                         --has not provided term sheet to others aside from list
                  Have provided the term sheet to bank
                         Applied Capital – TCP Advisory
                  Provided IP to Perkins Coie – no update

                  Company projected $43mm cash on hand
                       --had heard burn rate of $10mm per month

                  Walgreens settlement . . . . .
                  Plaintiffs injunction to stop Theranos from paying out class certification.

         20.      Notes by an SEC attorney dated August 12, 2017 of a “Call with Wilmer Hale”
state in part:

                  (7) Still hoping to raise more capital survive longer
                  Involved in a study at UCSF regarding efficacy of assays on the TSPU
                           --hoping they are on the right track
                           “whatever you think of Elizabeth and company,” technology is promising
                  ....
                  Trying to do what they can with $ they have

         21.      Notes by an SEC attorney dated August 7, 2017 of a “Call with Wilmer Hale”
state in part:

                   (2)      $43.6mm cash position
           Plan is to raise money, IP investors – no commitments

         22.      Notes by an SEC attorney dated November 17, 2017 of a “Wilmer Hale Mtg”
state in part:

                                                    8
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              TS . . . believe a resolution around 17(a)(3) fits the facts
              ....
              10b-5 would be devastating even if EH [?] than company
              ....
              Cooley & DWT are in a better position
                       --they believed they were saying when said it
                       --case is largely circumstantial
              ....
              Sophisticated investors . . . w/o . . . diligence
                       --inexperienced management is relevant to the state of mind
              ....
              Reality is the charges will be death . . . of the company
              ....
              DT . . . Fortress 100m debt facility
                       Targets Thanksgiving; end of month
                       Need to get certain shareholders [consent?]

       23.    Undated SEC notes state in part

              $100M debt facility with Fortress
                     --up to date on what is going on with SEC
              Targeting Thanksgiving for close – end of month
              Most of largest shareholders have been told and are supportive
              Madrone, Devos, PEER – largest shareholders will need to vote
              Against the whole IP
                     --SPV that holds IP, Fortress owns it
              Debt covenants are strong
                     --terms of loan for 3-5 years

      24.    Notes by an SEC attorney dated November 29, 2017 of a “Meeting w/ John
Dwyer & Steve Neal” state in part:

              If Fortress goes through; carries through end of 2018
              ....
              Current view is it makes company [secure?]

        25.     On numerous occasions, including on December 18, 2017, government attorneys
had phone calls with lawyers at WilmerHale representing Theranos. During these conversations,
the parties discussed Wilmer’s rolling document productions made in response to outstanding
grand jury subpoenas. The conversations addressed a variety of topics, including Wilmer’s set of
search terms, and the government’s request to Wilmer to supplement its search terms.

       26.      Notes by an SEC attorney dated December 19, 2017 of a “Meeting with John and
Steve” state in part:

              SN . . . If meet Fortress plan requirements, company would be ready for an IPO in
              ? years
                                                9
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              JD . . . Board thinks EH should be at the helm today. Whether she should stay on
              after IPO is a question, but don’t want to take that off the table.
              ....
              If she cannot be the CEO of Theranos after IPO, that would be taking away the
              option – some value to shareholders
              ....
              The loan that company gave her to purchase the stock
                       --no money changed hands
                       No ill-gotten gain
              The stock is going to be a significant issue

              Believe the fraud, if any, would have started 2013 with the C-2 round
              Believe that the investors were playing with play money and did not conduct
              adequate due diligence
              November 2013-2015 during C2 round
              ....
              Her ability to pay is based on her salary – contingent on company going forward
              She doesn’t have a million dollars to give us now

              ES Need a multiple of her salary – millions

      27.      Notes by an SEC attorney dated February 14, 2018 of a “Call with Wilmer and
Cooley” state in part:

              SE. The language is important to EH
              ....
              The staff isn’t required to plead fraud or deceit
              Haven’t seen anything to support that
              Written and oral communications
                     --gap between what was said and what was heard
              Inventors were talking about potential of invention, rather than current state
              Risky and ambitious plan but investors understood risks.
              What happened with FDA – not relevant

              CD . . . communications with FDA don’t have anything to do with investors.

              SE: client was young and inexperienced
              She relied on others for their experience and put in place knowledgeable advisors
              There is a stumbling on execution of business plan
              and a lack of procedures in place for a company moving forward quickly.
                      -EH can live with this
              SEC can typically show self-dealing
                      -no self-dealing
                      Acknowledgment would go a long way
              Process and procedures are getting better
                      --would be helpful to see in a complaint
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              CD: We have the challenge of reconciling complaint with complaint against
              Balwani.
              ....
              SE: This is a unique case
              Have not seen misstatements that can tie to particular individual.
              Citing specific misstatements will be easier to get sign-off on
              ....
              CD: . . . What is important is this be described in a manner that reflects
              recklessness and not a scheme intended to defraud
              This is not a case where principals are keeping separate set of books.
              Ample evidence of lack of maturity, rather than desire to mislead people
              There are explanations for what was said
              ....
              Katie is finalizing a privilege log
                      Trying to work with document certification to modify.
              SE: In the process of getting tax returns and bank statements.

      17.      Notes by an SEC attorney dated March 12, 2018 of a “Call with Wilmer and
Cooley” state in part:

              Have proposed final edits to board
              Overreaching thematic point – complaint makes it seem like this was a Ponzi
              scheme
              ....
              Haven’t tried to soften the language
              ....
              Draft of document at Wilmer’s or Cooley’s office
              ....
              Fraudulent scheme is stricken from the summary
              Read like no intent to develop a technology that was viable

              Theranos and Holmes were reckless in making these statements, often being
              unclear about status of technology nor did their descriptions of tech reflected
              current status of technology given developments to date
              ....
              Fortress warrant is not included in the 625 number

      18.      Notes by an SEC attorney dated March 13, 2018 of a “Call with Cooley and
Wilmer” state in part:

              (2) Para 3 – “virtually every aspect” “many” fine
              ....
              Knew there was substantial cash coming in no
              Even if not revenue

              (7) Para 93 – delete ‘defrauded’ in front of investors. No
                                               11
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        19.    In advance of Wilmer’s March 14, 2018 production to the government that was
labeled THER-2609026 through THER-2627934, and included blood test lab reports generated
via Theranos’ LIS and LABDAQ systems, the government and attorneys at Wilmer discussed the
fact that Wilmer would be withholding from its production certain test results, such as those that
reference CD4+T-Cell test results. These telephone conversations, between Wilmer and the
government, occurred over the course of several dates, on dates unknown, but likely in or around
February and March 2018.

         20.     Notes by an SEC attorney dated March 22, 2018 of a “Call with Jeff and John”
state in part:

                 (2) Theranos has funding runway through the summer. IEEE evaluated IP
                 portfolio and one of the top 3 companies – ½ billion dollars
                 Will start laying off people soon

         21.   On or about April 8, 2018, the government hosted an in-person meeting at the
USAO in San Jose with one or more lawyers from WilmerHale regarding Theranos. Chris
Davies is believed to have been present for this meeting. The government understands that
WilmerHale asked for the meeting to update the government on developments at Theranos,
including the purchase of some of its intellectual property by Fortress. David Taylor was present
for this meeting. At this meeting, someone, believed to be David Taylor, stated in substance that
Theranos’s “runway” would last until July 2018.

       22.      In or about April 2018, attorneys at WilmerHale asked to meet with government
supervisors in the event the line prosecutors recommended charging the corporation.

       23.     On or about April 26, 2018, Matthew Benedetto of WilmerHale stated to the
government: “the Company will be producing all lab reports held in LIS from the
commencement of retail patient testing to about September 19, 2015 (when the CTNs ceased
being used), including unredacted HIV test results. We will reproduce the lab reports from the
period covered by the prior production to include these HIV test results.”

        24.      On or about May 4, 2018, counsel for Mr. Balwani wrote the government:

        Thank you again for meeting with us last Friday with your team. We hope that
        you will agree with us that Sunny’s liability for Theranos-related matters, if any,
        will and should be fully addressed by the civil actions, including the pending SEC
        enforcement case in San Jose, the Attorney General’s action and pending class
        action lawsuit in Arizona, and the pending class action lawsuit in San Jose. As
        we discussed, the burden of those cases is very substantial and will fall almost
        entirely on Sunny’s shoulders.

        “If any event, I wanted to let you know that we had a discovery conference with
        SEC counsel yesterday, and agreed that we would receive the Commission’s
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       initial disclosures on May 17, with the documents they obtained from third parties
       to follow within a reasonable time after that, subject, we are told, to the workload
       of their document processing department. We expect to receive this material and
       additional material we have requested within the next two months, or perhaps
       sooner. Although of course we understand that your office has conducted its own
       investigation, we assume that the Commission’s case at least overlaps with the
       evidence relevant to the criminal investigation.

       Whether we agree on the proper course of action in this matter, there is no
       question that the case is highly complex, involving a great many documents and
       witnesses, and thus if indicted would consume substantial time and resources on
       both sides. Before the government commits to that process -- which regardless of
       outcome would dramatically alter not only Sunny’s life but also the lives of his
       family members who look to him for support and leadership -- we think that the
       government as well as Sunny would benefit from a discussion of more of the
       specific evidence that we will receive from the SEC, and perhaps from your office
       if you are willing to provide any pre-charge discovery in the form of a reverse
       proffer or otherwise. As we discussed last Friday, we believe that even the
       limited number of SEC transcripts we received only a week before our meeting
       cast substantial doubt on the investor fraud allegations in the Commission’s case,
       particularly regarding Sunny’s intent. For this reason, we believe that the
       government could only benefit from further dialogue that takes into
       account additional evidence and such of the government’s charging theories that
       you may be willing to share.

        25.      On or about May 10, 2108, counsel for Ms. Holmes wrote the Attorney for the
Government stating, in substance, there were two factors why no prosecution was warranted:
“virtually no evidence . . . to support a jury finding that Ms. Holmes acted with an intent to
deceive” . . . and “your office has, to date, given insufficient weight to Ms. Holmes’ settlement
with the [SEC].”

       26.     On or about May 16, 2018, counsel for the government wrote WilmerHale as
follows:

       Hi Wilmer folks,

       Can we have a call today or tomorrow to talk about a few outstanding items on
       the to-do list? So you can have the right people on the call, here are the topics
       we’d like to discuss:

       •        Timing of production of 2016 and 2017 documents, and Theranos’s
       proposed privilege filter
       •        Production of additional items requested in subpoena served on April 20,
       i.e., lab data, exemplar devices, and materials re advertising / marketing
       •        Updates regarding Brad Arington’s knowledge of a false statement made
       by Holmes to the FDA / CMS

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        Jeff and I are available toward the end of the day today and generally available
        tomorrow, so please let me know what times might work for you.

        27.     On or about May 30, 2018, attorneys from WilmerHale stated to attorneys for the
government: “Would you guys have time for a brief conversation today with Tom and me (and
perhaps David Taylor as well). We’d like to catch up with you on the status of the Company’s
sales efforts.”

        28.     Shortly before on or about June 1, 2018, the government had a call with several
attorneys at Wilmer (representing the company) and the Theranos GC. It was said that Theranos
was in the process of looking for a buyer for its assets (mainly IP). There were several upcoming
dates that were allegedly important to the sale process. Those dates were June 15, July 15, and
August 15. It was requested that the government not indict anything or anyone, but if it did, it
was requested that the government delay indictment until after August 15. If that was not
doable, it was requested that the government consider delaying until after July 15, or even June
15. It was said that each “fifteenth” that passed without additional negative publicity would
make a sale more likely. It was also claimed that a sale was the only way investors would see
ROI.

         29.     Notes by an SEC attorney dated June 18, 2018 of a “Call with Michael Mugmon”
state in part:

                 Joint defense agreements
                 PFM depo videos
                 Colman depo transcripts/videos
                 Website captures
                 QAD preservation

                 Extremely low on cash and people
                 QAD has been preserved / website preserved

        30.    On or about July 23, 2018, an attorney of a law firm representing individuals
interviewed by the government stated that the attorney “wanted . . . make sure you [i.e., the
government] were aware of the . . . sales of Theranos assets.” The attorney noted “[w]e have
heard rumors that this was done in a manner specifically to avoid the use of the Theranos name.”
The attorney referred the government to the following website:

https://www.bidspotter.com/en-gb/auction-catalogues/bschilc/catalogue-id-bschilc10084

       31.       On or about July 25, 2018, an AUSA wrote several attorneys at WilmerHale as
follows:

                 Wilmer team,

                 Thanks again for taking the time to speak to me the other day. I wanted to follow
                 up on the topics we discussed to make sure we’re on track to wrap everything up

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      in the next couple weeks. In particular, I thought it would be helpful to set some
      compliance deadlines as laid out below.

      Production of Devices

      Thanks for providing the description of the devices in Theranos’s possession. If
      you’d like us to consider postponing our request for a given model on the grounds
      that the company only has one copy and needs access to it in the short term,
      please identify which models that applies to and briefly explain the need for the
      company to retain possession. Please provide this information by Monday, July
      30. As to any unique devices we don’t get in this round, the government would
      expect Theranos to maintain them in the company’s possession without altering
      them or relinquishing custody to any other parties. Speaking of which, I’ve
      looked into your question regarding the anticipated request from Holmes and
      Balwani for those same devices. I’ve found no support for the proposition that a
      party is excused from complying with a grand jury subpoena on the basis of a
      competing request from a defendant—especially where the grand jury subpoena
      was served first and the Rule 17 subpoena has not been issued. It’s routine, of
      course, for the government to take possession of unique evidence items relevant
      to a criminal prosecution. Defendants have a right to inspect such evidence seized
      by the government, but they don’t have the power to deprive the government of
      that evidence by making competing requests. Please let me know if you have any
      authority to the contrary. Based on our understanding of the law, we don’t think
      it would be appropriate for Theranos to delay production to the government based
      on a conversation it had with defense counsel.

      The deadline for compliance with the request for devices is August 8,
      2018. Please deliver the requested devices to the FBI or have them ready for
      pickup by that date. As a reminder, that subpoena request also included samples
      of other proprietary devices including the sample collection device and
      nanotainer.


      Remaining Documents & Privilege Filter Issues

      On the topic of 2016-2017 docs, we’ve received one production and understand
      you are preparing an additional production. The additional production will
      include, among other things, communications with non-lawyer third parties that
      were withheld based on your initial privilege filter. Please also include in that
      production any non-privileged documents to, from, or mentioning Heather
      King. Given her expansive role at the company and her involvement in relevant
      events, we can’t accept a production that simply excludes anything with her name
      on it. We are fine, however, with Theranos keeping Scott Marmer’s name on the
      privilege filter, based on your representations that his role was mainly limited to
      contracts and IP and the fact that any communications between him and non-
      lawyers outside of Theranos will be captured and produced as discussed above.

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       The deadline for compliance with this document request is August 20,
       2018. Please let us know by August 8 if Theranos won’t comply so that we can
       determine next steps.

       LIS Database + Software

       I understand from our conversation that you’ve received the LIS database from
       Theranos and are preparing it for production to us next week. To comply with the
       subpoena, please complete that production—including any software necessary to
       access and query the database—by August 10, 2018.

       Please feel free to reach out by email or phone if you’d like to discuss any of the
       above.

32.    On or about July 30, 2018, an attorney with WilmerHale wrote the government:

Thank you for speaking with us, we very much appreciate your time. Pursuant to
our conversation last week, we wanted to circle back on the open items discussed
on our call and in your email below.

Production of Devices

At this time, Theranos would appreciate postponing the requests for certain
devices identified below. Currently, only a single copy of each of these device
versions exists, and the Company hopes to retain these unique devices so that it
can demonstrate the evolution of its technologies to potential buyers or other
potential partners.

•      Theranos Bench Prototype
•      Theranos Monolab
•      Theranos Minilab 4.1-TC

Additionally, it appears that two miniLab 4.1 devices were incorrectly identified
as the previous miniLab 4S versions. As such, the Company will not be able to
provide a version of the miniLab 4S, as most of these devices were disassembled
and reused to build the miniLab 4.1 in 2015 and early 2016. The Company is
working to prepare its devices for transport and is happy to have these devices
ready for pickup before August 8th (if possible, we believe scheduling a pickup
for Monday, August 6th would work well on our end). As we have discussed, we
would appreciate it if this pickup could be handled with discretion. We will
provide you with a list of the devices we will have ready for pickup, and are of
course happy to work with you and/or the FBI to arrange for the pickup of these
devices. Please don’t hesitate to let us know if you have any other questions on
this front.

Remaining Documents & Privilege Filter Issues

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We are continuing to discuss this issue with our client and hope to get back to you
shortly. We will circle back by August 8th to let you know our preferred option(s)
on this front and to discuss next steps.

LIS Database + Software

We are working with the Company to prepare the LIS database for
production. We have also been in touch regarding your request for additional
information on any proprietary software necessary to query the LIS database, and
are working with the Company to better understand this issue. Thus far, we have
determined that the following software/operating system(s) will be necessary to
restore and query the database:

•      Microsoft SQL Server Enterprise License on Windows Server 2012R2
•      SQL Server Management Studio 2014 Management Studio or any other
standard software to query SQL Server database

Because the above software/operating system(s) are technically the property of
third parties, we feel it is appropriate for you to obtain access via the relevant
third parties. We are of course happy to work with you and provide any other
information to assist you in this regard.

Thank you again for your time, and please don’t hesitate to let us know if you
have any questions or would like to discuss any of the above. We will of course
circle back on these open items per your email below.

33.    On or about August 7, 2018, an attorney for WilmerHale wrote the government:

We are prepared to turn over the devices listed below. As we’ve discussed
previously, these are the devices for which Theranos has more than one copy. I
also included packaging dimensions and item weights so you can coordinate
appropriate sized vehicle and resources for loading. There will be total of six (6)
packages for pickup.

Please let us know when the agent or agents will be available to pick up the
devices. We have a preference for 2pm on Wednesday, August 8th, but if that
time does not work on your end we can find another time that works.

Testing Devices
•      Edison 3.5 (only THE-manufactured device used in clinical lab) ->
Edison35_40-01006_06AUG2018.jpg (14”-W x 20”-L x 20”-H, Weight ~40lbs)
•      miniLab Tower -> miniLab-Tower_40-01000_06AUG2018.jpg (Pallet
28”-W x 67”-L x 28”-H, Weight ~300lbs)
•      miniLab 4.1-Full -> CASE_T41-C010_miniLab41-FULL_40-
01016_06AUG2018.jpg (Case 28”-W x 32”-L x 26”-H, Weight ~130lbs)


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       •      miniLab 4.1-Lite (version used for UCSF study) -> CASE_T41-
       C033_miniLab41-LITE_40-01019_06AUG2018.jpg (Case 28”-W x 32”-L x
       26”-H, Weight ~110lbs)
       •      miniLab 4.1-TC V2 (current version, used in R&D for Zika) ->
       CASE_T41-C023_miniLab41-TCv2_40-01024_06AUG2018.jpg (Case 28”-W
       x 32”-L x 26”-H, Weight ~120lbs)

       Collection Devices & Cartridges ->
       Packed_TSCD&Cartridges_06AUG2018.jpg (small box, content pictures
       included for reference as described below)
       •      TSCD -2 (LiHep) -> TSCD2_50-00120_LiHEP_06AUG2018.jpg
       •      TSCD -2 (EDTA) -> TSCD2_50-00121_EDTA_06AUG2018.jpg
       •      Zika, fully assembled, with reagents (recent R&D use) -> Cartridge_60-
       00186_06AUG2018.jpg
       •      Training cartridges, fully assembled -> Cartridge_60-
       00187_06AUG2018.jpg

       At this time, Theranos will not be providing the devices listed below because it
       only possesses one copy of each. You will note the addition of two cartridges to
       this list.

       •      Theranos Bench Prototype
       •      Theranos Monolab
       •      Theranos Minilab 4.1-TC
       •      HSV-2 IgG Assay Cartridge
       •      Custom Potassium Cartridge

       Please let me know if you would like to discuss or if there is a particular agent or
       agents with whom we should be coordinating.

The attorney attached photos of the referenced devices.

        34.     On or about August 27, 2018, Katie Moran wrote government attorneys:
“Attached please find the transmittal letter accompanying today’s production of Theranos’ LIS
database. The media will be delivered via courier today. The encryption key is
7Dh$fsB!dgs&6Fes!.” On August 29, 2018, a government attorney replied: “We’ve received
that production—thank you. Please provide a status update on Theranos’s plans regarding the
outstanding 2016-2017 documents at your earliest opportunity. In order for us to determine
appropriate next steps, it would be helpful for us to have a clear statement of the company’s
intentions with respect to complying with the subpoena. Separately, we discussed obtaining the
deposition transcripts from the Colman litigation. I understand that under the protective order
you needed to provide notice to certain parties. Has that issue been resolved such that you can
send us the transcripts today?” On or about September 4, 2018, Michael Mugmon wrote
attorneys for the government: “I understand that Katie has been in touch with you to advise you
that Theranos intends to make a fully responsive production next week, upon consideration of
John’s email below. Am I correct that you nonetheless intend to file a motion to compel (which I
assume would make clear that DOJ is seeking, among other things, non-privileged
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communications from lawyer custodians), notwithstanding that (1) you will shortly be getting
everything you asked for (and more); and (2) John’s email made quite clear that we were to
contact you before COB today if we wanted to avoid motion practice (which we do)? I’m not
sure what would be the relief seek in your motion, if you do intend to file one. And I’d
personally find it disappointing if you do intend to file a motion where we were given time to
and did consider your position — and are giving you what you’ve requested. I assume that you
would not be using this motion to cast the Company in a negative light to support your
indictments. I am taking time away from my vacation out of the country to respond to this, and
I would hope that we could have your professional courtesy.”

        35.     On or about September 4, 2018, Michael Mugmon wrote to attorneys for the
government: “I now understand that it is Mr. Balwani’s counsel that intends to file a motion to
quash the subpoena. If that is not correct, please let us know. If, however, the below is right, we
would like to continue meeting and conferring.” An attorney for the government replied:
“Thanks for reaching out. I think your first email was based on a misunderstanding and that you
have things straight now. The sole purpose of a motion to compel would be to obtain the
documents covered by the subpoena. If Theranos is going to produce those documents pursuant
to the subpoena and without the need for further court order, there’s no need for any such
motion. I understand from speaking to Katie a few minutes ago that Theranos is processing the
production now and that we’ll get it as soon as it is ready next week. I also understand that
Theranos intends to produce those documents regardless of any motion that Mr. Balwani’s
lawyers might file in the criminal case. If that’s correct, I expect that the issue I raised in my
September 1 email will be resolved with that production. Please let me know if I’m misinformed
about the company’s plans. Thanks again for taking the time to write. I appreciate your
attention to the matter and hope you enjoy the rest of your vacation.”

        36.     Shortly after receiving an encrypted hard drive with what was purported to be “a
copy of Theranos’ LIS database” on or about August 27, 2018, FBI Agent Scussel, at the
direction of an attorney for the government, sent the encrypted drive by Federal Express to a
paralegal in the USAO.

        37.     On or about September 5, 2018, a USPIS representative not connected to the
investigation forwarded to Chris McCollow a newspaper article to the effect that Theranos was
shutting down.

        38.     On or about September 12, 2018, Katie Moran from WilmerHale stated to the
government that the company was probably dissolving that day and that WilmerHale would not
be able to act for the company after that. Moran indicated WilmerHale was still planning to
produce a final batch of documents to the government at the end of the week. She also provided
the name of the assignee and the law firm representing the assignee.

       39.     On or about September 12, 2018, a paralegal in the USAO reported to an
Automated Litigation Support (ALS) supervisor with the USAO that she had two hard drives in
her possession. The paralegal indicated she had wanted to send one of the hard drives to the
ALS supervisor, that is was a 1 TB drive but that she was not sure what the data size was; her
computer was not detecting the data size. The paralegal planned on sending the hard drive to the
IT department of the USAO to take a look. If the IT department was able to fix it, the paralegal
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planned to have the IT department give it to the ALS supervisor. The paralegal indicated if the
IT department was able to fix it, she would execute routine ALS forms to provide details on what
the paralegal wanted done.

       40.      Later on or about September 12, 2018, the ALS supervisor agreed to the
paralegal’s plan and offered to look at the drive as well, noting ALS had its little tricks to try and
coax drives to play nice. The paralegal advised that after a call with an IT department
representative the paralegal decided to send the drive directly to ALS for processing.

        41.      On or about September 14, 2018, the ALS supervisor advised the paralegal, an
IT department representative, and a USAO employee in the ALS unit that she had received the
drive that afternoon but it was not playing nice for her either. She reported receiving the
following message on both her workstation and a standalone computer:




The ALS supervisor initially guessed that that the drive might be formatted for a Mac or simply
corrupted. She discussed the matter with an IT department supervisor and the USAO employee
in the ALS unit, who wondered whether the entire drive might be encrypted as a VeraCrypt (or
TrueCrypt) volume. The ALS supervisor noted that if that were the case, the ALS unit would
need a password to unlock it. She asked whether the originator of the drive provided any
documentation as to the contents and/or a password? She provided a scan of the drive label to
assist in tracking down a password.

        42.     On or about September 15, 2018, the paralegal reported to the ALS supervisor,
the IT department representative, and the USAO employee in the ALS unit that she had found
the hard drive is password protected and provided the following password: 7Dh$fsB!dgs&6Fes!

      43.   On or about September 18, 2018, the ALS supervisor advised the paralegal and
the USAO employee in the ALS unit as follows:

       It looks like [the USAO employee in the ALS unit’s] diagnosis was correct; we
       couldn’t see the contents of the drive because it’s a VeraCrypt volume (a drive
       which has been encrypted using VeraCrypt).

       Using the password you provided I was able to open it on the standalone, but now
       I just have further questions!

       The contents of the drive do not appear to be load ready files, or natives, or any
       kind of forensic viewer. Rather, It looks like a set of backup copies of something,
       probably a database (the format is .bak).

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       Without knowing what sort of database these are from (or if they indeed are
       database backups) it’s very hard to figure out how we might extract the data (or
       even if it’s possible for us to do so).

       It also raised the question that perhaps these are simply backup copies of material
       that has already been provided to our office.

       Was there any documentation provided when the drive was delivered?

       If you could send along any additional info you have about this drive that would
       be great; I’m also happy to speak with an agent if you have a point of contact for
       this material.

The ALS supervisor also provided the following screenshot:




       44.    On or about September 20, 2018, the government spoke with attorneys from
Dorsey representing the Assignee. The call participants discussed state law governing
assignments for the benefit of creditors, the contract governing the assignment, board and
shareholder approval, Fortress, and the Assignee’s approach to privilege.

       45.     On or about October 4, 2018, the government paralegal advised the ALS
supervisor (and attorneys for the government) of an upcoming vacation through October 19,
2018, and inquired whether she was able to find the program that would enable the government
to view the hard drive (described above).



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        46.     On or about October 5, 2018, the ALS supervisor advised attorneys for the
government and the government paralegal about issues surrounding the hard drive. She noted
she had discussions with her unit, the IT department, and the LTSC. She said the drive does not
contain material which could be processed in house or by the LTSC. She said the drive contains
12 BAK files totaling about 830 gigabytes. She said the .bak extension indicates that the files
were most likely backup files for a Microsoft SQL database. She said if that was correct such
files would be used to restore database backups on a Microsoft SQL Server. She said .bak is a
common extension and without documentation of what the drive was meant to contain she could
only make an educated guess that these were database backups. She said because they were
archive files the size of the data could increase when restored. She said the material was not
provided to the USAO in a format that can be extracted, viewed, or processed by available
software. She said the LTSC’s EDD [electronic data discovery] software can only digest
SQL.bak files if they are under 300 mb. She suggested a possible route forward of pushing the
producing party to see if the party could be persuaded to produce in a manner that can be viewed
and processed in a standard way rather than an unspecified archive format the government could
not access. She suggested encouraging the producing party to consider handing over its physical
SQL server and setting it up in a workroom. She suggested checking with the FBI or other
agencies to see if they have resources that can process large SQL database archives. She
suggested identifying a vendor who could process the material and noted the data size and labor
cost could be staggering. She offered to set up a call or meeting to discuss the issues further.

       47.      On or about October 30, 2018, the government paralegal advised the ALS
supervisor she had met with attorneys for the government and the group decided to pursue the
options of pushing the producing party to see if it could be persuaded to produce in a manner that
can be viewed and processed in a standard way rather than an unspecified archive format the
government could not access and checking with the FBI or other agencies to see if they have
resources that can process large SQL database archives. The government paralegal also advised
the ALS supervisor to return the hard drive when she had a chance. Around that time, the ALS
supervisor did so. The hard drive remained in the possession of the government paralegal until
around the spring of 2020.

        48.     In approximately October and November of 2020, counsel for the government
was in contact with counsel for the assignee at the Dorsey law firm on a variety of topics.
During those discussions, government counsel noted that the government had been unable to
access the copy of the LIS database produced by Theranos. Assignee counsel expressed a lack
of surprise that the government was having difficulty accessing the database, and offered to
investigate whether the assignee had the database in a different form that would facilitate the
government’s access. During a subsequent conversation, assignee counsel reported back to the
government that it had been unable to locate an alternative version of the LIS database that
would allow access. Assignee counsel also informed government counsel that the LIS database
was encrypted and that the assignee lacked the means to decrypt it. Assignee counsel opined that
Sunny Balwani would likely be able to decrypt the database, but could not identify anyone else
who they thought could accomplish the task.

       49.     On or about January 14, 2019, the government paralegal advised attorneys for the
government that ALS had tried to process the hard drive but does not have the software to
process the discovery and proposed possible options of producing a native version, involving the
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FBI computer forensics team, involving a third party, and/or reaching out to the source. On or
about January 29, 2019, the government paralegal provided a similar update.

        50.      In March of 2019, government counsel contacted assignee counsel to ask some
follow-up questions about how the LIS database came to be encrypted and decommissioned. On
March 21, 2019, assignee counsel emailed an attorney for the government and conveyed the
assignee’s understanding that Sunny Balwani and Shekar Chandrasekaran encrypted the LIS
database. In that email, assignee counsel also quoted David Taylor, former Theranos president,
as stating that the LIS database was “the most comprehensive (though still not fully
comprehensive) company repository of clinical information -- patient contact info, doctor contact
info, test dates and results, etc. It has, however, been decommissioned, and before the company
formally closed we were advised that it be a herculean undertaking to get it up and running
again.” Assignee counsel promised to speak to the assignee to determine whether they had any
additional information.

        51.    On March 25, 2019, assignee counsel followed up with an attorney for the
government and passed along information from Jarod Wada at the assignee entity. Wada
confirmed that the assignee did not know who decommissioned the LIS database. Wada also
conveyed that Eric Caddenhead, former IT manager of Theranos heard that Shakar
Chandrasekaran had been involved with the LIS database, and that Caddenhead had stated that
the LIS database was maintained by a group outside of Theranos, Inc. That email also conveyed
that David Taylor had told Wada on several occasions “that the LIS was decommissioned and
that prior to ABC, Theranos, Inc. had been told that it could no longer be reconstructed with the
existing resources.” The assignee also reported that a company called FTI Consulting had done
some work via WilmerHale on behalf of Theranos, and relayed from a representative of that
company that FTI had not decommissioned the database.

         52.    In or about March or April of 2020, an attorney for the government called
WilmerHale attorney Matthew Benedetto and/or Michael Mugmon. The purpose of that call was
to inquire as to whether WilmerHale was in possession of additional passwords or other
information that would allow the government to access the purported copy of the LIS database
that had previously been produced by WilmerHale when it represented Theranos. During that
call or a follow-on call, the attorney(s) from WilmerHale confirmed that they did not have any
such additional information beyond what they had provided earlier.

       53.  In or about May 2020, Special Agent Scussel retrieved an encrypted hard drive
from the USAO and took it to the FBI’s RCFL.

       54.   In or about June 2020, Special Agent Scussel retrieved an encrypted hard drive
from the RCFL, returned it the grand jury file, and provided four copies to the USAO.




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                                         Very truly yours,

                                         STEPHANIE M. HINDS
                                         Attorney for the United States,
                                         Acting Under Authority Conferred
                                         By 28 U.S.C. § 515


                                         _________________________
                                         ROBERT S. LEACH
                                         JEFFREY SCHENK
                                         JOHN C. BOSTIC
                                         VANESSA BAEHR-JONES
                                         Assistant United States Attorneys

cc   Jeff Coopersmith, Esq. (by email)




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                                                                                    59945933
                                                                                   Dec 12 2016
                                                                                    10:29PM


    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
PARTNER INVESTMENTS, L.P., a                       )
Delaware limited partnership,                      )
PFM HEALTHCARE MASTER FUND,                        )
L.P., A Cayman Islands limited                     )
partnership, and                                   ) C.A. No. 12816-VCL
PFM HEALTHCARE PRINCIPALS                          )
FUND, L.P., a Delaware limited                     )
partnership,                                       )
                                                   )
                       Plaintiffs,                 )
                                                   )
              v.                                   )
                                                   )
THERANOS, INC., a Delaware                         )
corporation, ELIZABETH HOLMES,                     )
an individual, and RAMESH BALWANI,                 )
an individual, and DOES 1-10                       )
                                                   )
                       Defendants.                 )

        DEFENDANT THERANOS, INC.’S RESPONSES AND
  OBJECTIONS TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES
      Pursuant to Court of Chancery Rules 26 and 33, Defendant Theranos, Inc.

(“Theranos” or the “Company”) hereby submits the following responses and

objections to Plaintiffs’ First Set of Interrogatories (each an “Interrogatory” and,

collectively, the “Interrogatories”) as follows:

                            GENERAL OBJECTIONS

      Theranos makes the following General Objections to the Interrogatories and

incorporates them by reference into its response to each Interrogatory below as

though fully set forth therein.

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             REQUEST NO. 54: DESCRIBE the “proprietary databases” to
             which YOU referred in YOUR response to Interrogatory Nos. 18, 19,
             21, 33, 28, and 29, including the contents, all available data points,
             date ranges for available data, data sources, data collection methods,
             data output capabilities, compilation report capabilities, search
             capabilities, database administrator(s), authorized user(s), security
             protocols, and metadata or user tracking capabilities.

RESPONSE TO INTERROGATORY NO 54:

      Theranos incorporates by reference the General Objections set forth above.

Theranos specifically objects to the phrases “contents, all available data points,

date ranges for available data, data sources, data collection methods, data output

capabilities, compilation report capabilities, search capabilities, database

administrator(s), authorized user(s), security protocols, and metadata or user



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tracking capabilities” as overly broad and unduly burdensome because they

comprise multiple subparts.

      Subject to and without waiving the foregoing objections and General

Objections, Theranos states that the Theranos LIS System (“TLIS”) is a proprietary

application that was designed to record, manage, and store data, as well as drive

workflow and aid processes, in Theranos’ CLIA-certified laboratories. The

database that underlies TLIS contains information pertaining to patient encounters

and the laboratory test results obtained in relation to those encounters.

Database records

      TLIS provides a function to define, create, and edit database records. Such

records may be created via the LIS Application or other laboratory applications

connected to the LIS database. TLIS provides a function to receive or retrieve

each record via standard communication protocols. The following is a list of all

records: Patient record, physician record, provider record, provider location

record, laboratory record, lab order record, lab test record, lab visit record,

container barcode record, reference range, and case. A variety of fields may be

populated for each record.

Date ranges for available data

      The records in the database underlying TLIS span from approximately

September 13, 2013 to approximately October 6, 2016.

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Data sources

      Data sources include the following:

      1.     Automated entry of data from third-party clinical analyzers.

      2.     Automated entry of data from proprietary analyzers.

      3.     Automated entry of data from third-party Electronic Medical Record

vendors via electronic interfaces.

      4.     Manual entry of data through the user interface.

      5.     Manual entry of data from third-party clinical analyzers.

      6.     Manual entry of data from proprietary analyzers.

      7.     Manual entry of data from third-party reference laboratories.

      8.     Manual entry of data from other sources, including client

communications and the internet.

Data collection methods

      Data can be collected via electronic interfaces to analyzers and third-party

software vendors. Data can also be collected manually via input through the user

interface.

Data output capabilities
      Data output from TLIS was available through the follow capacities:

      1.     Export to local machine/network

      2.     Fax


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      3.       Email

      4.       Electronic interface to third-party software vendor

Compilation report capabilities

      TLIS provides a variety of template reports for users to download and

export. The database may also be queried to generate custom reports for which

there are not defined templates.

Search capabilities

      TLIS provides functions for users to search for patient records, physician

records, provider records, provider location records, lab order records, lab visit

records, container barcode record, reference ranges, and cases. The database may

also be queried if the user interface does not provide the desired search

functionality.

Database administrator(s)

      The following individuals served as database administrators:

       Name              Title                     Description of Role

  Shekar            Head of        Mr. Chandrasekaran was a member of the Software
  Chandrasekaran    Software       Development team and was responsible for designing
                    Development    and implementing TLIS.
  Sekhar Variam     Director of    Mr. Variam was a member of the Software
                    Engineering    Development team and was responsible for designing
                                   and implementing TLIS.
  Arunkumar         Database       Mr. Chockaiyan was a member of the Software
  Chockaiyan        Architect      Development team and was responsible for designing
                                   and implementing TLIS.




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Authorized Users

      More than 200 individuals within the CLIA-certified laboratories, Product,

Software Engineering, IT, and Billing teams were granted access to the LIS

application, with user roles defined for various functions. To list and provide a

description of all individuals who were ever granted access to TLIS, without

reasonable limitation as to the significance of their roles within the Company or

their relation to PFM’s investment or this litigation, would be unduly burdensome

and would require information that is irrelevant and immaterial to the claims or

defenses of any party in this litigation. Theranos therefore provides below a list of

authorized users among the document custodians in this litigation.

      Theranos states that it is currently aware that the following Theranos

document custodians were granted access to TLIS:

      1.     Hoda Alamdar

      2.     Brad Arington

      3.     Sunny Balwani

      4.     Max Fosque

      5.     Christian Holmes

      6.     Mark Pandori

      7.     Chinmay Pangarkar

      8.     Adam Rosendorff

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      9.      Suraj Saksena

      10.     Don Tschirhart

      11.     Daniel Young

Security protocols

TLIS has a multi-level security implementation:

      1.      TLIS utilizes a central, role-based authentication system in which

access is limited to a defined set of users.

      2.      Role-based authentication provides the ability to assign a set of

privileges to a given user, limiting the set of information available to that user.

      3.      A complete audit trail of all changes made to laboratory results is

maintained.

      4.      A complete audit trail of all users who viewed a given patient result is

maintained.

      5.       Users may not delete records from TLIS.

Metadata or user tracking capabilities

      Key user actions, including the viewing, entry, and release of patient

laboratory results, are recorded by TLIS.




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FD-302 (Rev. 5-8-10)
                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       11/19/2020



               ERIC CADDENHEAD (CADDENHEAD), previously interviewed, was interviewed at
        his residence located at                                                                  Milpitas, California.                           Also
        present for the interview was Assistant United States Attorney (AUSA)
        Vanessa Baehr-Jones.                         Prior to the interview, AUSA Baehr-Jones advised
        CADDENEHAD it was illegal to lie to a Federal Officer (Title 18 U.S.C. 1001)
        and CADDENHEAD confirmed he understood.                                             After being advised of the identity
        of the interviewing parties CADDENHEAD agreed to the interview being audio
        recorded.


              The below is an interview summary. It is not intended to be a verbatim
        account and does not memorialize all statements made during the interview.
        Communications by the parties were electronically recorded.                                                                   The recording
        captures the actual words spoken.                                       The interview was recorded and a copy of
        the recording will be maintained in the attached lA and the 1D section of
        the case file.


             While at Theranos CADDENHEAD's role was primarily focused on corporate
        structures.               Additionally, CADDENHEAD worked on Theranos' launch with
        Walgreens.              CADDENHEAD also supported ANTTI KORHONEN on the production side
        then the software guys would come in and do their thing.                                                               After CADDENHEAD
        was let go during a round of layoffs, KORHONEN fought to get him hired
        back.          KORHONEN was promoted, but he got frustrated with everything because
        it was so chaotic so he left Theranos for another job, leaving CADDENHEAD as
        basically the last IT person at the company.                                                  After KORHONEN left there was
        another round of layoffs.                              During this time CADDENHEAD was responsible for
        collection employees computers when they left.


             CADDENHEAD then took a job at ClimateWorks, and advised Theranos to hire
        an IT consulting group to help with the shutdown and said he would be
        willing to help by consulting.                                    Then it was turned over to Sherwood, and
        CADDENHEAD had to execute a consulting agreement with Sherwood in order to




   Investigation on    10/07/2020           at Milpitas, California, United States (In Person)

   File# Sl8A—SF-7315857                                                                                                     Datedrafted     10/07/2020

   by   Mario C. Scussel
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.



                                                                                                                                   US-REPORTS-0019711
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          318A-SF-7315857
                          (U) Interview of Eric Caddenhead —
Continuation of FD-302 of 10/0 7 /2020                               On    10/07/2020   Page   2 of 6




          help Neetek, the IT consulting company Theranos had hired to help with the
          shutdown of Theranos.         CADDENHEAD worked remotely when he was consulting for
          Theranos.        At this time he was still using his Theranos email address
          because it would allow him to VPN into the system.              CADDENHEAD thought he
          might have had some emails which went to his personal email after Sherwood
          became involved.


                                         Neetek 000815 to Neetek 000817


               CADDENHEAD was shown Neetek 000815 to Neetek_000817, an email chain title
          "RE: LIS copies - need Eric or Antti" which started on July 24, 2018 and
          included XAN WHITE (WHITE), JOHN MCCHESNEY (MCCHESNEY) and MICHAEL CHUNG
          (CHUNG).


                The software group made a copy of the production database and stored it
          on one of the servers and that was what they asked CADDENHEAD and CHUNG to
          copy.         They then put the LIS database on three USB drives.       MCCHESNEY had
          the three blank hard drives in his office and CHUNG was supposed to retrieve
          the drives and prep them onto the production server so they could copy the
          LIS database back-up copy onto the three hard drives.              CADDENHEAD did assist
          with this task by VENing into the production network and copying the binary
          for the LIS database onto the hard drives.           CHUNG then took the hard drives
          with the copies and gave them back to MCCHESNEY.           However, CADDENHEAD never
          had access to the information on the LIS database because this information
          was encrypted and he did not have the encryption key.              CADDENHEAD thought
          there should also be an email from him in which he advises that the copies
          had been completed.


                                        Neetek 000811 and Neetek 000746


               CADDENHEAD was shown Neetek 000811 and Neetek 000746 an email titled "RE:
          Decrypted version" between CHUNG, CADDENHEAD, and MCCHESNEY starting on
          August 8, 2018 to August 10, 2018.           CADDENHEAD advised that the private key
          was to decrypt the LIS database.          In the emails they discuss a password list
          which had been given to KORHONEN.          CADDENHEAD could copy the LIS database
          without the private key needed to access the data in the database.

                                               Email from KORHONEN


               CADDENHEAD was shown an email from KORHONEN from August 8, 2018 titled




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          "Decrypted Version in which CADDENHEAD forwarded the email "RE: Decrypted
          version" to KORHONEN, asking if he had this password document with the
          private key.         CADDENHEAD had been asked to get in touch with KORHONEN.
          KORHONEN told CADDENHEAD that he had it at one time, but did not have it
          anymore.        This document was an Excel document, which was        encrypted through
          Microsoft RMS.         CADDENHEAD ended up getting a copy of the Excel document,
          but could not get into it because he did not have the password to the
          document.        CADDENHEAD was not as concerned with the database password
          because he could still make the copies of the binaries without this
          password.        MCCHESNEY wanted the whole package which would include the copy
          and the password so they could decrypt the database.              CADDENHEAD did not
          talk to MCCHESNEY or TAYLOR directly about the fact that they could not get
          into the database, but did talk to CHUNG about it.              CADDENHEAD advised that
          without the private encryption key one would not be able to get into the
          documents.


               SIVA DEVABAKTHINI (DEVABAKTHINI), who was referred to in one of the
          emails was the person who had advised that the encryption key would have
          been in the encrypted excel document which he had provided to KORHONEN.
          DEVABAKTHINI left Theranos in September 2016 according to the email.


                                         Neetek 000576 - Neetek 000577


               CADDENHEAD was shown Neetek 000576 - Neetek 000577 an email chain which
          started on June 6, 2018 an included an email from SEKHAR VARIAM (VARIAM)
          titled "RE: LIS data base discussion - response to request".              CADDENHEAD
          never spoke with VARIAN about the LIS database.           CADDENHEAD only cared about
          where the LIS database was so that he could copy the files onto the hard
          drives.        One could only decrypt the database with the master key, but once
          RMS was shutdown they would not be able to decrypt the database.


                The end of the email chain was an email from TAYLOR on September 2, 2018
          forwarding an email from VARIAN on August 30, 2018 in which VARIAM forwarded
          his email from June 6, 2018. CADDENHEAD was not surprised TAYLOR was asking
          for information as to how to put the LIS database back together, because
          TAYLOR was not a "tech guy" so he did not understand.


               CADDENHEAD did not recall receiving these emails from September as they
          went to his Theranos email and he was done with the Theranos project by this




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          time.         Accordingly he had stopped checking his Theranos email.


                                                  Neetek 000616


               CADDENHEAD was shown Neetek 000616 an email from SHEKAR CHANDRASEKARAN
          (CHANDRASEKARAN) which TAYLOR forwarded on August 28, 2018 titled "Call re
          LIS (priv/conf) - time sensitive".           CADDENHEAD advised that CHANDRASEKARAN
          was the main person for software. CHANDRASEKARAN would have had
          administrative rights to the whole LIS system.           CADDENHEAD had no idea why
          CHANDRASEKARAN was providing his credentials and password to TAYLOR.
          CADDENHEAD also did not know why they wanted to make another copy of the LIS
          database.


                 CADDENHEAD advised that CHANDRASEKARAN's group who were responsible for
          the software portion of the LIS database and should have had all the
          encryption keys for the database.          CADDENHEAD did not know why
          CHANDRASEKARAN did not respond to these emails to provide that decryption
          information.         CHANDRASEKARAN's software development group was under their
          own control and did their own thing.            This group had reported up to SUNNY
          BALWANI (BALWANI) who was friends with CHANDRASEKARAN.


                                                  Neetek 000591


               CADDENHEAD was shown Neetek 000591, an email titled "LIS" on August 29,
          2018 between CHUNG, CADDENHEAD, TAYLOR, CHANDRASEKARAN, and MCCHESNEY.


               On Friday August 31, 2018 the Newark facility was shut down, and it would
          have been very difficult to get the LIS working again because every single
          hard drive in the disk array was encrypted independently of each other, so
          if you got them out of order then the system would not work.


               CADDENHEAD was not aware of an effort to put the information from the LIS
          onto Excel spreadsheets.         CADDENHEAD thought the LIS database was too large
          and could not be put on Excel spreadsheets.           If the database was up and
          running then they might be able to run a report for each patient in the
          database, but CADDENHEAD never used the LIS database himself so he was not
          certain.


                                                  Neetek 000578


               CADDENHEAD was shown Neetek 000591, an email titled "RE: Info for Shekar"




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          between TAYLOR, CADDENHEAD and CHUNG on September 2, 2018.             This email would
          have been after Newark was shutdown.            CADDENHEAD was not sure why TAYLOR was
          requesting the information in this email.


               CADDENHEAD advised that TAYLOR was asking the wrong people these
          questions as he should have instead been asking CHANDRASEKARAN and the
          software team.         The only thing CADDENHEAD was able to do on the list in this
          email was to make a copy of the binary.


                                         Neetek 000333 - Neetek 000338


               CADDENHEAD was shown Neetek 000333 through Neetek 000338, an email chain
          from August 28, 2018 to September 19, 2018 with the subject "RE: Call re LIS
          (priv/conf) - time sensitive" which included CADDENHEAD, MORAN, JAROD WADA
          (WADA), TARYN MCCARTHY, and CAMILLE JOHNSON.           In this email chain MORAN was
          asking CADDENHEAD to make a copy of the LIS software from the share drive,
          which was the code for the LIS.          CADDENHEAD did not talk to her about this
          and did not think MORAN got a copy of the LIS database, as only MCCHESNEY
          had the copies of the LIS database.           CADDENHEAD advised that MORAN's request
          for the code for the LIS to be copied onto a hard drive never happened.


               CADDENHEAD did not recall having a conversation with MORAN about this
          request and advised that MORAN rarely picked up her phone when he called.


               MORAN had also been involved at Theranos prior to 2018 when IT was
          copying emails.


               CADDENHEAD did not know what she meant by "we are working on a
          solution".        CADDENHEAD thought that the 40 GB he referred to in his email on
          September 4, 2018 was the size of the LIS database.             He would have been able
          to get the information about the size of the database from the back-ups he
          had created previously.


               CADDENHEAD was not replying to the emails as he did not have a contract
          with Wilmer Hale, instead his contract was with Sherwood, so he was not sure
          if he was cleared to speak with her directly by Sherwood, as everything had
          to be cleared with Sherwood.


               CADDENHEAD never spoke with MORAN about the private key/encryption
          password for the LIS database and not being able to obtain this password.




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          CADDENHEAD did not know where the copies he made of the LIS database went
          after CHUNG provided them to MCCHESNEY.              The only person CADDENHEAD was
          communicating with at this time was CHUNG.


               CADDENHEAD thought it had to have been expressed that the software group
          would be be the ones who had the encryption passwords during these
          conversations.


               CHANDRASEKARAN was good friends with BALWANI from working together at a
          previous software company, possibly Microsoft.             CADDENHEAD thought either
          CHANDRASEKARAN might have told him about the fact that he had worked with
          BALWANI previously, or he learned it from KORHONEN.


               BALWANI used his own encryption and bypassed using RMS.              IN particular,
          BALWANI would encrypt excel documents for anything related to financial
          numbers.        This included any documents BALWANI sent to Theranos' controller
          DANISE YAM (YAM).         CADDENHEAD knew this from when he worked previously with
          MORAN on collecting emails and documents. CADDENHEAD would flag documents
          for MORAN which he could not open, by sending her an email.                CADDENHEAD
          recalled the BALWANI was still at Theranos at the time, because they were
          still working out of Theranos' Palo Alto facility.                BALWANI had provided
          some of his passwords, which worked on some of the documents, but it the
          document had to do with financials the password did not work.                   Accordingly,
          none of the financials sent to YAM could be accessed with the passwords
          provided by BALWANI.         CADDENHEAD did not recall any financials which had
          been sent outside of Theranos.




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To:      Sunny Balwani[/O=THERANOS ORGANIZATION/OU=First administrative group/cn=recipients/cn=sbalwani]
From:    Ian McDowell[/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
GROUP/CN=RECIPIENTS/CN=IMCDOWELL]
Sent:    Wed 6/10/2015 5:12:18 PM (UTC)
Subject: Visio's of CoLo
Colo_ConnectionMap.vsdx
Colo_Rack.vsdx

 Sunny,
 "
 Here are Visio#s of the rack config and connectivity map.
 "
 -ian
 "
 From: Ian McDowell
 Sent: Wednesday, June 10, 2015 9:47 AM
 To: Sunny Balwani
 Subject: CoLo BoM
 "
 Sunny,
 "
 We have finalized the BoM for our initial colo needs." Please see attached.
 "
 Breakdown (everything is in HA pairs, etc):
 "
 Palo Alto Networks firewalls
 Kemp load balancers
 Switches: 4500x (core), MDS (fiber Channel), and 2960#s (access)
 Tripplite console
 Cisco UCS compute chassis with 4 2xsocket 256GB RAM blades (Vmware) and 2 2xsocket 128 GB RAM blades (SQL
 cluster)
 Nimble Storage (fiber channel, 48TB controller and 60TB expansion shelf + cache acceleration)
 VMware licenses with site recovery
 Archive grade storage for backup
 Backup media server
 Commvault backup licenses
 "
 This was negotiated down from $800K to $476K with very aggressive discounts.
 "
 Please let me know if you want to schedule some time to go over everything by line item." I can get Danise involved to
 work on financing.
 "
 Thank you,
 -ian
 "
 Ian McDowell
 Senior IT Manager
 Theranos, Inc.
 (650) 470-6183
 PRIVILEGED AND CONFIDENTIAL COMMUNICATION
 IMPORTANT k This electronic transmission, and any files transmitted with it are confidential and/or legally privileged information. This information is intended solely for the use
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 650-838-9292                     www.theranos.com
 "

                                                                                                                                                      BALWANI000001
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                                                  FAIL

                                                         OK




                                   PS 1                       P S2
                                                  FAIL

                                                         OK
                                   STAT
                                   FA N
                                    FAN1

                                           FAN2
                                   STAT
                                    FAN
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               FAN             FAN




                                                PS1
                       FAN1
               STA T          S TA T

                       FAN2
      35                               FAI L          F AIL
                                                              35
                                       OK             OK




                                               PS 2
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                                                                                                                          Date of entry       12/16/2020



               MICHAEL CHUNG (CHUNG), previously interviewed, was interviewed via WebEx
        video teleconference.                          Representing CHUNG during the interview were Ed
        Swanson and Carly Bittman from Swanson & McNamamra.                                                          Also present from the
        government were Assistant United States Attorney (AUSA) Vanessa Baehr-Jones
        and AUSA Bob Leach.                        This interview was conducted pursuant to a Proffer
        Agreement signed by CHUNG, Swanson, and AUSA Baehr-Jones.                                                                Prior to the
        interview Swanson reviewed the Proffer Agreement with CHUNG as did AUSA
        Leach.          AUSA Leach reviewed the importance of being truthful and that lying
        would be a violation of 18 USC 1001.                                          After being advised of the identity of
        the interviewing parties and the nature of the interview, CHUNG provided the
        following information:


             CHUNG was the sole owner of Neetek, an IT Services company which had
        approximately ten employees.                                 Neetek specialized in project delivery and
        would help companies and their IT departments with things they did not have
        time to do themselves, such as moves.


             Neetek was first introduced to Theranos by Coyote Creek Consulting which
        called Neetek and offered them the Theranos job because the work Theranos
        wanted done was not a fit for their company.                                                  At first, the Theranos project
        sounded like it was an office move, which was Neetek's specialty.                                                                         After
        advising Coyote Creek Consulting that Neetek was willing to take the job,
        CHUNG then got a call from JOHN MCCHESNEY (MCCHESNEY) who hired Neetek to
        move Theranos' servers.


              The Theranos project changed from a move from a big office to a small
        office to a move to a data center.                                        While this meant Neetek did not have to
        worry about setting up desks and VPN's, there were other concerns they would
        have to deal with in the move to the data center.


             CHUNG learned about the LIS database when MCCHESNEY asked him to move




                                               San Francisco, California, United States (Phone, Other
   Investigation on    12/07/2020           at (Videoteleconference))

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   by   Mario C. Scussel

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          it.      However, CHUNG advised MCCHESNEY that they could not move the LIS
          database.         While CHUNG and Neetek had experience moving Microsoft systems,
          the LIS database was a bespoke database developed by a group of software
          engineers who no longer worked at Theranos and they would be needed in order
          to help move the database.          CHUNG advised MCCHESNEY that they would not be
          able to move the database and they would need the software engineers to move
          it.      There were meetings where CHUNG had to advise that they could not move
          the database and the reasons they could not move it.                MCCHESNEY was not only
          present for these meetings, but he also commented during the meetings that
          that the LIS database could not be moved.              DAVID TAYLOR (TAYLOR) was also
          present for these calls/meetings as was XAN WHITE (WHITE) and people from
          Wilmer Hale.


               CHUNG was shown Neetek_000855 which contained an email from WHITE to
          MCCHESNEY and TAYLOR on July 18, 2018 which advised "It also appears to
          require passwords that Antti (Korhonen) alone may have, though that's not
          clear to me."         CHUNG had tried to reach ANTTI KORHONEN (KORHONEN) multiple
          times to get the password, but never got in touch with him.                ERIC CADDENHEAD
          (CADDENHEAD) also reached out to KORHONEN to try to get the password for the
          LIS database because they were friends.               However, neither CHUNG nor
          CADDENHEAD was ever able to get a hold of KORHONEN, and CHUNG has never
          spoken with KORHONEN at any point.               CHUNG had advised MCCHESNEY that
          CADDENHEAD could not get a hold of KORHONEN in order to obtain the
          password.


                The LIS database was up and running on August 18, 2018 and continued
          until the date which Neetek took everything down.


               Someone had purchased three USB drives to copy the data from the LIS
          database onto each drive.          CADDENEHAD accessed the system remotely and
          initiated the copies.          At this point CHUNG was just doing what MCCHESNEY
          asked him to do.         CHUNG had told MCCHESNEY that these USB drives would need
          a password, which they did not have, in order to access the data on the
          drives.         As a result, copying the data to these hard drives would not be
          useful because the LIS ran on complex software which they did not have any
          support for and it had hundreds of pieces of equipment.                Additionally, one
          would need the binaries, source code, and other items to make the database
          function again.         CHUNG told MCCHESNEY that they would need other things to
          reconstruct the LIS database, but he might not have been so specific as to




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          name the things they would need, such as the Binaries.


               After the USB drives were copied, CHUNG gave the three copies to
          MCCHESNEY who said he was going to send them to law firms.             CHUNG did not
          know why they made three copies of the LIS database, at the time he just
          thought that they had made extra back-ups.


               CHUNG was shown Neetek 000746 an email from CHUNG to MCCHESNEY on August
          10, 2018 titled "Decrypted Version".           Part of the email stated "The password
          for restoring the private key should be in a document that Antti had in his
          possession (Siva Devabakthini sdevabakthini@theranos.com, the Dev-ops
          engineer provided Antti with a          document containing all the passwords before
          he left in 2016 September)."          CHUNG never reached out to SIVA DEVABAKTHUNI
          (DEVABAKTHUNI).         CHUNG sent this email because they were trying to figure
          out how to reconstruct the the data and the instructions said they needed a
          password.


               CHUNG did email with SHEKAR CHANDRASEKARAN (CHANDRASEKARAN), who was the
          only person he had contacted in the software group.             It was possible CHUNG
          was on some calls with CHANDRASEKARAN, but he was not sure.             CHUUNG did not
          recall any emails from CHANDRASEKARAN about the password.             However CHUNG did
          recall emails from CHANDRASEKARAN asking for assistance.


               The day they were moving everything out of Theranos, CHUNG asked if they
          were ready to shut everything down and he was told to wait for a bit because
          someone was running spreadsheets/reports from the LIS database.               Then when
          this person was done MCCHESNEY said they could shut it down.


               MCCHESNEY was frustrated by the news that the LIS would not be able to be
          revived, as nobody wants to hear that it would be extremely hard or
          impossible to recreate something.           MCCHESNEY did not mention to CHUNG that
          the government had subpoenaed the LIS database.            CHUNG did not know who
          subpoenaed the LIS database, as he was just doing what MCCHESNEY and
          CADDENHEAD told him to do.


               CHUNG was shown Neetek_000599 to Neetek_000600 an email from TAYLOR to
          KATIE MORAN (MORAN), CHANDRASEKARAN, CHUNG, and CADDENHEAD on August 28,
          2018 titled "Call re LIS (priv/conf) - time sensitive".             CHUNG recalled this
          meeting being similar to a meeting which happened much before this one.
          TAYLOR's statement in the email that the LIS database would be "very




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          difficult to resuscitate" was consistent with CHUNG's message to MCCHESNEY.
          CHUNG did not recall a conversation during this call about why it would be
          difficult to resuscitate the database, but thought that everyone should have
          already known the reasons by this time.           Either during or after this call
          CHANDRASEKARAN sent a list of the things he needed to resuscitate the
          database.         CHUNG did not recall having any conversations with MORAN prior to
          this meeting, and he never met her in person.           While MORAN spoke during this
          meeting, CHUNG could not recall what she said.            The need for a password was
          discussed many times, but CHUNG could not recall if it was discussed again
          during this specific meeting.          CHUNG was consistent in his message to
          Theranos that the password from KORHONEN was necessary to access the LIS
          database data.


               In the August 29, 2018 email CHUNG was working to obtain the binaries
          because these would be needed to reconstruct the LIS database.               However,
          this would not be enough to resuscitate the database because this was just
          part of the list of things they would need to complete the reconstruction.


               On September 2, 2018 TAYLOR sent an email to CADDENHEAD asking for four
          items for CHANDRESEKARAN.          When CHUNG was asked to copy the binaries he had
          already had the conversation on multiple occasions that this would not solve
          the problem.         At this point, CHUNG was just trying to do what he was asked
          to do.         The LIS database had already been taken down by this point.


               CHUNG was not surprised TAYLOR was asking to resuscitate the LIS database
          just days after he said it would be very difficult to resuscitate because
          this type of thing happened to CHUNG often where a client would ask for
          something even after he had explained that it could not be done
          Accordingly, since this type of thing happened to him often, it did not
          surprise CHUNG.


               CHUNG did not recall CHANDRESEKARAN saying anything about his confidence
          in his ability to reconstruct the LIS database and he did not recall
          CHANDRESEKARAN saying he would later be trying to reconstruct the LIS
          database.


               While CHUNG advised that while anything is possible, when he received
          this email from TAYLOR he knew it would be very difficult to reconstruct the
          LIS database.         CHUNG was not aware of CHANDRESEKARAN having a plan to




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          reconstruct the LIS database or of any plan in which CHANDRESEKARAN was to
          put the LIS database back together.


               CHUNG never got a sense that there was a working copy of the LIS database
          somewhere.


               On the last day when Theranos shut down, MCCHESNEY drove a truck with the
          servers and hard drives to a public storage facility.             MCCHESNEY took the
          hard drives out of the servers to save them and took them to a different
          storage unit.         These hard drives were the hard drives for all the production
          servers.         The reason MCCHESNEY took the hard drives out of the servers was
          because he did not want to be the one who was responsible for losing this
          data.         MCCHESNEY told CHUNG this before the servers were moved.       However,
          once the hard drives were taken out of the servers, if they were not tracked
          as to where they came from, it would have been impossible to put them back
          together.         Even if the hard drives were all labeled correctly, it would have
          been extremely difficult to reconstruct the database because in addition to
          the servers there are also hundreds of network devices which would have to
          be connected correctly.          Accordingly, retaining these hard drives would not
          necessarily have meant the data on them had been retained.             CHUNG was
          responsible for returning the servers to the lessor, and the servers did not
          have the hard drives in them when he returned them.


               Outside of his attorneys, CHUNG has also spoken about the existence of
          the government investigation with his assistant, his girlfriend, ERIC
          CADDENHEAD (CADDENHEAD), and the Assignee for the Benefit of Creditors of
          Theranos (ABC). CADDENHEAD and CHUNG have a professional relationship and
          CADDENHEAD had hired Neetek to assist with a move at his new company.
          However, CHUNG has not discussed the substance of the events at Theranos
          with CADDENHEAD. THE ABC is aware of the investigation because they had
          asked CHUNG to see if Theranos' servers were still on line. On November 17,
          2020 Sherwood reached out to CHUNG and asked him to see if the Theranos
          servers were still "healthy". They wanted CHUNG to go look at these servers,
          which were for the active directory which were located at the data center,
          and not the servers for the Laboratory Information System (LIS) database.
          There was also an active directory encryption mechanism which encrypts and
          decrypts messages. This encryption was also located at the data center which
          also stored the file servers and email servers. However, CHUNG thought these
          servers were probably "stale".




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               The ABC, Sherwood, and Fortress Investment Group (Fortress) wanted CHUNG
          to help get the Active Directory management rights running and healthy.
          CHUNG was not sure why they wanted him to do this, but knew that Fortress
          owned Theranos' Intellectual Property (IP).




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